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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                          :
IN RE: PHILIPS RECALLED CPAP,             :   Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL              :
VENTILATOR PRODUCTS                       :   MDL No. 3014
LITIGATION                                :
                                          :
This Document Relates to:                 :
                                          :
Consolidated Second Amended Class         :
Action Complaint for Medical Monitoring   :
(ECF No. 815)                             :
                                          :



 PHILIPS RS NORTH AMERICA LLC’S SUPPLEMENTAL BRIEF IN SUPPORT OF
     THE MOTION TO DISMISS THE SECOND AMENDED CLASS ACTION
                COMPLAINT FOR MEDICAL MONITORING

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       Philips RS North America LLC (“Respironics”) respectfully submits this supplemental

brief in support of its motion to dismiss Plaintiffs’ Second Amended Class Action Complaint for

Medical Monitoring (“MMSAC”) (ECF No. 815).

I.     PRELIMINARY STATEMENT

       The District Court has remanded Respironics’s Motion to Dismiss the MMSAC to the

Special Master to issue a revised report and recommendation consistent with the District Court’s

guidance. ECF No. 2522. On remand, the District Court has asked for (i) “a thorough survey” of

relevant state law “to determine whether a stand-alone claim is plausibly stated for medical

monitoring or if any other claim is plausibly stated for which medical monitoring may be obtained

as a form of relief,” and (ii) “a roadmap for a ruling on the motion to dismiss which identifies, for

each count and each state, the claims that will survive.” ECF No. 2521(“Remand Op.”) at 5, 18.

The District Court posed certain other claim-specific questions to aid in these tasks. Id. at 19.

       As shown below, very few of Plaintiffs’ claims should survive, primarily because most

states require Plaintiffs to plead a manifest physical injury to state a claim for medical monitoring

relief, and Plaintiffs’ allegations of latent “subcellular change” and economic losses do not suffice.

A proposed “roadmap for a ruling on the motion to dismiss” is provided at the conclusion of this

supplemental memorandum showing those claims, for each count and state, that should be

dismissed under the reasoning of the Special Master’s September 28, 2023 report and

recommendation (ECF No. 2273) (the “R&R”) and consistent with the District Court’s guidance.




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   Negligence and Strict Liability Claims (Counts I-II, V-IX) 1

       o The District Court has asked whether “the tort claims for each state” include, “as an

           element of the prima facie case, injury[,]” and “whether economic harm or subcellular

           harm will satisfy that element.” Remand Op. at 19.

       o The traditional rule in all states requires plaintiffs to plead, as an element of negligence

           and strict products liability claims, that the plaintiff has suffered a present, manifest

           physical injury. Economic loss, by definition, is not a physical injury. Allegations of

           economic losses not arising from a manifest physical injury do not suffice to state a

           claim for negligence or products liability for which relief can be granted in states that

           adhere to the traditional rule.

       o The parties agree that New Hampshire, North Carolina, and Delaware (“Undisputed

           Traditional Rule Jurisdictions”) adhere to the traditional rule and require plaintiffs to

           plead a manifest physical injury to state a cause of action.

       o The parties likewise agree that California, the District of Columbia, Florida, Maryland,

           Massachusetts, Missouri, Nevada, Pennsylvania, Utah, Vermont, and West Virginia

           (“Undisputed Minority Rule Jurisdictions”) deviate from the traditional rule and permit

           plaintiffs to allege claims seeking medical monitoring relief without requiring

           allegations of manifest physical injury.




1
 These claims are, respectively: Negligence, Negligence Per Se, Products Liability Design-Defect,
Negligent Design, Strict Liability Failure to Warn, Negligent Failure to Warn, and Negligent
Recall.


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       o For all of the remaining relevant jurisdictions (the “Disputed Jurisdictions”), 2 the Court

          must make a prediction under Erie R. Co. v. Tompkins, 304 U.S. 64 (1938) to assess

          whether the highest court of each state would deviate from the traditional rule. The

          R&R correctly stated that Third Circuit precedent requires courts to opt against

          expanding liability under state law unless, based on reliable authorities, a “clear

          indication” exists that that the jurisdiction’s highest court would do so. The District

          Court concurred. (Remand Op. at 15).

       o The R&R correctly found that twenty-seven of the Disputed Jurisdictions would adhere

          to the traditional rule and require plaintiffs to allege a manifest physical injury to state

          a negligence or products liability claim for which relief can be granted. As shown in

          the detailed state law survey below, and consistent with the District Court’s guidance

          in the Remand Opinion, on remand Tennessee should also be added to the list of

          Disputed Jurisdictions in which plaintiffs must allege a manifest physical injury in

          order to state a negligence or products liability claim.

       o Plaintiffs here have not alleged a manifest physical injury and their claims must be

          dismissed under the laws of states that adhere to the traditional rule. Plaintiffs allege

          in conclusory fashion that they have experienced latent “subcellular injury” or “other

          physiological change” as a result of using the recalled devices. E.g., MMSAC ¶ 56.

          No court, in any state, has ever held that latent “subcellular injury” or “physiological

          change” is a “manifest physical injury” for purposes of pleading a tort claim.



2
  The Disputed Jurisdictions are Arizona, Arkansas, Colorado, Connecticut, Georgia, Hawaii,
Idaho, Illinois, Indiana, Iowa, Kansas, Maine, Minnesota, Montana, Nebraska, New Jersey, New
Mexico, New York, Ohio, Oklahoma, Oregon, Puerto Rico, Rhode Island, South Carolina,
Tennessee, Texas, Virginia, and Washington.


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       o Because Erie permits only the conclusion that the Undisputed Minority Rule

          jurisdictions deviate from the manifest physical injury pleading requirement for

          negligence and products liability claims, Plaintiffs’ negligence and products liability

          claims asserted under the laws of the Disputed Jurisdictions and the Undisputed

          Traditional Rule Jurisdictions (Counts I-II, V-VIII) should be dismissed for failure to

          allege manifest physical injury.

   Fraud (Count XIII) and Negligent Misrepresentation (Count III)

       o Manifest physical injury is not traditionally an element of claims alleging fraud or

          negligent misrepresentation. However, Plaintiffs’ allegations in support of their fraud

          and negligent misrepresentation claims are materially indistinguishable from those in

          the Master Personal Injury Amended Complaint (“PIAC”). Accordingly, as the District

          Court ruled with respect to the PIAC, Plaintiffs’ fraud claim here fails Rule 9(b)’s

          particularity requirement and should be dismissed in its entirety. Plaintiffs’ negligent

          misrepresentation claim also fails in those jurisdictions identified in the District Court’s

          Order granting in part Respironics’ Motion to Dismiss the PIAC, for the same reasons

          articulated in that Order and in the Special Master’s Report and Recommendation on

          Respironics’ Motion to Dismiss the PIAC. ECF No. 2471; ECF No. 2271.

   Stand-Alone Medical Monitoring Claim (Count IV)

       o The District Court asked the Special Master to “identify which state subclasses remain”

          for Plaintiffs’ stand-alone medical monitoring claim, and to determine “whether the

          relevant state law requires a physical harm; and if so, whether subcellular change is

          sufficient.” Remand Op. at 19.




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       o In the minority of jurisdictions that permit stand-alone medical monitoring claims,

          allegations of manifest physical injury are not necessary to state a claim.

       o Plaintiffs’ stand-alone medical monitoring claims asserted under the laws of

          Connecticut, Colorado, Delaware, Montana, and New Hampshire should be dismissed,

          because those states have not expressly recognized such a claim, and under an Erie

          analysis the highest courts of these states have given no “clear indication” that they

          would do so.

       o Plaintiffs’ stand-alone medical monitoring claim, therefore, survives only as asserted

          under the laws of the District of Columbia, Florida, Massachusetts, Pennsylvania, Utah,

          and West Virginia, where such a cause of action is recognized.

   Products Liability Acts (Count XIV)

       o For the Products Liability Acts claim, the District Court directed the Special Master to

          “examine the statutory language and applicable caselaw to determine whether injury or

          harm is a necessary element of the claim,” and “whether subcellular change would be

          sufficient to plead a physical injury.” Remand Op. at 19.

       o Plaintiffs assert claims under the Products Liability Acts of seven states: Connecticut,

          Indiana, Kansas, New Jersey, Ohio, Tennessee, and Washington. MMSAC ¶¶ 701-

          735. These claims should be dismissed because, properly construed, each state’s act

          requires Plaintiffs to allege a manifest physical injury to state a claim.

       o The states’ Products Liability Acts are derived, to greater or lesser extents, from the

          Model Uniform Product Liability Act, and the adopted provisions relevant here all use

          similar language and structure that should be afforded a consistent interpretation. The

          Supreme Court of New Jersey held in Sinclair v. Merck & Co., 948 A.2d 587 (N.J.




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          2008), that the New Jersey Products Liability Act requires plaintiffs to allege a manifest

          physical injury to recover medical monitoring damages. The statutes in Connecticut,

          Indiana, Kansas, Ohio, and Tennessee use the same text to define the harm that is

          actionable under the law, and appellate decisions in those states concur with Sinclair.

       o The Washington Products Liability Act uses a slight variation of the model text, but

          the variation does not compel a different result because Washington adheres to the

          manifest physical injury requirement for all tort claims, including products liability

          claims, and Washington’s highest court has never held that any other rule applies to

          claims alleged under the Washington Products Liability Act.

       o No court in Connecticut, Indiana, Kansas, New Jersey, Ohio, Tennessee, or

          Washington has ever held that allegations of latent “subcellular injury” satisfy the

          elements of a Products Liability Act claim, and accordingly Plaintiffs’ allegation of

          latent “subcellular injury” fails to state a claim.

   Breach of Express and Implied Warranty (Counts X-XII)

       o For Plaintiffs’ breach of warranty claims, the District Court asked whether “the

          elements of those claims are sufficiently pleaded, i.e., whether factual allegations about

          economic harm or subcellular change are sufficient.” Remand Op. at 19.

       o In addition to all the arguments for dismissal of Plaintiffs’ warranty claims that

          Respironics asserted in its original and recently renewed Motions to Dismiss the PIAC

          and the Second Amended Master Personal Injury Complaint, Plaintiffs’ express and

          implied warranty claims also should be dismissed for the independent reason that

          Plaintiffs fail to allege manifest physical injuries.




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       o Under U.C.C. § 2-715(2), on which state law statutory breach of implied warranty

           claims are based,3 recovery of consequential damages is permitted only where a

           plaintiff alleges and proves “injury to person or property.” Plaintiffs’ implied warranty

           claims here seek only medical monitoring relief, which is a form of consequential

           economic damages not arising from a personal injury or injury to property.

       o   All of Plaintiffs’ implied warranty claims, in every state, should therefore be dismissed

           for failure to state a cause of action (Counts X–XI).

       o   Plaintiffs’ claims alleging breach of express warranty also fail for the independent

           reason that Respironics’ warranty expressly disclaims liability for consequential

           economic damages arising from an alleged breach of warranty. Such a consequential

           damages disclaimer is enforceable under the U.C.C., and all of Plaintiffs’ breach of

           express warranty claims, in every state, should accordingly be dismissed.

       As explained in more detail below, and as shown in the roadmap at the conclusion of this

supplemental brief, Plaintiffs’ inability to allege manifest physical injury, along with other

pleading deficiencies, compels dismissal with prejudice of the majority of Plaintiffs’ claims under

the laws of most states. See Baker v. Croda Inc., No. 21-3360, 2023 WL 5993109, at *1 (3d Cir.

Sept. 15, 2023) (affirming dismissal of proposed class action for medical monitoring damages

where complaint “failed to allege the existence of a present injury” because “[t]he class cannot

show it has suffered any injury under Delaware law.”) (citation omitted).




3
 “Warranties relevant to products liability cases are generally governed by the provisions of the
Uniform Commercial Code and its variations as adopted by the states[.]” 63 Am. Jur. 2d Products
Liability § 576.


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II.    ARGUMENT

       A.      Negligence and Strict Liability Claims (Counts I-II, V-IX)

       The District Court recognized that tort claims traditionally require an “injury” and has

requested an assessment of whether Plaintiffs’ allegation of “economic harm or subcellular harm

will satisfy that element.” Remand Op. at 19. For Plaintiffs’ negligence and products liability

claims (Counts I-II, V-IX), all states traditionally require allegations of a “manifest physical

injury” to state a claim for which relief can be granted. While a small minority of states have

created an exception to that requirement for medical monitoring claims, most jurisdictions adhere

to the traditional rule, and no court, in any state, has ever held that allegations of “economic harm”

or latent “subcellular injury” satisfy the requirement to allege a manifest physical injury.

               1.      The traditional rule in all states requires Plaintiffs to allege a manifest
                       physical injury to state a tort claim, which is not satisfied by
                       allegations of latent “subcellular injury” or economic harm.

       Historically, the compensable injury in negligence and products liability actions has been

limited to manifest physical injury to person or property. 4 Tort law traditionally has protected

plaintiffs only from the invasion of their interest in avoiding physical harm by unintentional acts

and defective products. “The threat of future harm” from exposure to a hazardous substance, by

itself, is not an actionable injury sufficient to sustain a cause of action “under generally applicable

principles of tort law.” Schweitzer v. Consol. Rail Corp., 758 F.2d 936, 942 (3d Cir. 1985)




4
  E.g., Hinton ex rel. Hinton v. Monsanto Co., 813 So. 2d 827, 829 (Ala. 2001) (holding the present
physical injury requirement is a “traditional tort-law requirement” that has existed for hundreds of
years); Wood v. Wyeth-Ayerst Lab’ys, Div. of Am. Home Prod., 82 S.W. 3d 849, 851-52 (Ky.
2002); RESTATEMENT (SECOND) OF TORTS § 924, comment a (1979) (“[T]here is no liability for
merely negligent conduct that threatens bodily harm[.]”); R ESTATEMENT (THIRD) OF TORTS:
PRODUCT LIABILITY § 1 comment d (1998) (limiting recovery for defective products to “harm to
persons or property,” “commonly referred to as personal injury and property damage”); id. § 6
(limiting recovery for defective medical devices to “harm to persons”).


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(discussing W. Prosser and P. Keeton, Prosser and Keeton on Torts (5th ed. 1984) at 165); see also

Hinton, 813 So. 2d at 829 (“[T]hreat of [] harm . . . is not enough”); Henry v. Dow Chem. Co., 701

N.W. 2d 684, 689–90 (Mich. 2005) (same). A manifest physical injury is a practical, functional

impairment of bodily functions. Sondag v. Pneumo Abex Corp., 55 N.E. 3d 1259, 1264–65 (Ill.

Ct. App. 2016) (rejecting argument that asymptomatic pleural plaques and interstitial fibrosis

constitute physical harm absent a showing of resulting loss or detriment to the plaintiff);

RESTATEMENT (THIRD) OF TORTS: PHYS. & EMOT. HARM § 4 comment c (2010) (defining “physical

harm” to require “impairment of the human body,” which does not include any need to undergo

medical monitoring before such impairment).

        Plaintiffs do not allege a manifest physical injury here. Instead, Plaintiffs allege in

conclusory fashion that each of them has “suffered subcellular injury or other physiological

changes that create and/or increase the risk that Plaintiff will develop cancer and other diseases.”

MMSAC at ¶ 25; see also ¶¶ 26-88 (repeating allegation verbatim for each plaintiff). Plaintiffs do

not claim that any “subcellular” changes are causing them present bodily impairment. See id. ¶

367 (admitting Plaintiffs and putative class members do not have a “recognized” or “manifest”

“illness, disease, or disease process”). Plaintiffs, in fact, admit that they allege only “latent”

subcellular changes. Id. ¶ 384 (alleging “subcellular or other latent physiological changes”).

“Latent” is the opposite of “manifest,” and thus latent changes are not actionable injury under

traditional tort law. See In re Paoli R.R. Yard PCB Litig., 113 F.3d 444, 458 (3d Cir. 1997)

(distinguishing latent from manifest injuries); Schweitzer, 758 F.2d at 942 (“[S]ubclinical

injury . . . is insufficient to constitute the actual loss or damage . . . required . . . under generally

applicable principles of tort law[.]”); Rainer v. Union Carbide Corp., 402 F.3d 608, 621 (6th Cir.

2005) (“Accepting the plaintiffs’ claim would [] throw open the possibility of litigation by any




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person experiencing even the most benign subcellular damage.”) (Kentucky law); Sondag, 55 N.E.

3d at 1264 (physical harm “means more than an alteration to the structure of one’s body.”).

       The practical problems implicated by a rule permitting claims based solely on alleged latent

“subcellular injury” are self-evident. Merely drinking a hot beverage, aging, or even thinking

cause “physiological changes” at the cellular and subcellular level. That simply is not enough to

plausibly allege a right to recover damages. “All life is change, but all change is not injurious.”

Dumontier v. Schlumberger Tech. Corp., 543 F.3d 567, 570 (9th Cir. 2008).

       Accordingly, every court that has considered it has rejected the argument that allegations

of latent “subcellular injury” constitute an actionable, manifest physical injury for purposes of

stating a claim in tort.5 See Parker v. Wellman, 230 F. App’x 878, 882 (11th Cir. 2007) (rejecting

assertion that subcellular damage is “a current physical injury under Georgia law”); In re Rezulin

Prods. Liab. Litig., 361 F. Supp. 2d 268, 273-78 (S.D.N.Y. 2005) (subcellular mitochondrial

damage insufficient to establish present physical injury under Louisiana and Texas law); Walston

v. Boeing Co., 334 P.3d 519, 522 (Wash. 2014) (“[A]symptomatic cellular-level injury . . . is not

itself a compensable injury[.]”) (citation omitted); Pounders v. Enserch E & C, Inc., 306 P.3d 9,

14 (Ariz. 2013) (until “the disease is discoverable[,]” “a legally compensable injury does not exist”

“based on subcellular injuries occurring at exposure”); Bernier v. Raymark Indus., Inc., 516 A.2d

534, 543 (Me. 1986) (“[M]icroscopic injury . . . is ‘insufficient to constitute the actual loss or




5
  The only state where courts consider allegations of “subcellular injury” for purposes of a medical
monitoring claim is Massachusetts. But there, as discussed below, courts do not equate an
allegation of latent “subcellular injury” with a manifest physical injury. Rather, courts in
Massachusetts require medical monitoring plaintiffs to allege and prove “subcellular injury”
caused by exposure to a hazardous substance as a precondition to showing a sufficiently
heightened risk of contracting a latent disease to be able to state a claim for medical monitoring
relief. Donovan v. Philip Morris USA, Inc., 914 N.E. 2d 891, 901 (Mass. 2009).


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damage . . . required . . . under generally applicable principles of tort law[.]’”) (citation omitted). 6

        Similarly, allegations of pure economic losses—meaning financial losses not arising from

physical injury to person or property—are not an actionable injury for purposes of stating a

negligence or products liability claim.7 Such purely economic losses are not an actionable “injury”

in tort for several reasons, including avoiding indeterminate tort liability and deference to parties’

ability to manage economic risk through negotiated contracts (including insurance). 8

RESTATEMENT (THIRD) OF TORTS: LIABILITY FOR ECONOMIC HARM § 1, comment c (2020).

        Plaintiffs’ allegations of latent “subcellular injury” and pure economic losses accordingly

are not actionable “injuries” under traditional tort law. Plaintiffs’ tort claims under the laws of any

state that adheres to the traditional rule, which requires allegations of manifest physical injury,



6
  See also Parker, 230 F. App’x at 882 (rejecting assertion that cellular damage constitutes “a
current physical injury under Georgia law”); In re Rezulin Prods. Liab. Litig., 361 F. Supp. 2d at
273-78 (allegations of subcellular mitochondrial damage insufficient to establish present physical
injury under Louisiana and Texas law); Walston, 334 P.3d at 522 (“[A]symptomatic cellular-level
injury . . . is not itself a compensable injury[.]”) (citation omitted); Pounders, 306 P.3d at 14 (until
“the disease is discoverable . . . a legally compensable injury does not exist” “based on subcellular
injuries occurring at exposure”); Bernier, 516 A.2d at 543 (“[M]icroscopic injury . . . is
‘insufficient to constitute the actual loss or damage . . . required . . . under generally applicable
principles of tort law.’”) (citation omitted).
7
   RESTATEMENT (THIRD) OF TORTS: LIAB. FOR ECONOMIC HARM § 1, comments a–c (2020)
(explaining rule, “An actor has no general duty to avoid the unintentional infliction of economic
loss to another”); RESTATEMENT (THIRD) OF TORTS: PRODUCT LIABILITY § 21 (1998) (explaining
economic losses are only actionable where they are caused by harm to person or property other
than the defective product); Lowe v. Philip Morris USA, Inc., 183 P.3d 181, 186 (Or. 2008) (“‘[o]ne
ordinarily is not liable for negligently causing a stranger’s purely economic loss without injuring
his person or property.’”) (alteration in original; citations omitted); Herbert Bernstein, Civil
Liability for Pure Economic Loss Under American Tort Law, 46 Am. J. Comp. L. 111 (1998)
(discussing history of limitations on recovering economic losses through negligence and product
liability claims).
8
  Where economic losses arise from an injury to the plaintiff’s person or property, however, they
are recoverable through negligence and products liability claims like other consequential damages.
See Herbert Bernstein, Civil Liability for Pure Economic Loss Under American Tort Law, 46 Am.
J. Comp. L. 111, 111, 118 (1998); RESTATEMENT (THIRD) OF TORTS: PRODUCT LIABILITY § 21
(1998).


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must be dismissed for failure to state a claim. Lowe, 183 P.3d at 186; RESTATEMENT (THIRD) OF

TORTS: PHYSICAL & EMOTIONAL HARM § 4 comment c (2010) (claims for medical monitoring

without “impairment of the human body” do not constitute claims for “physical harm”).

               2.      Erie prediction requires dismissal of negligence and strict products
                       liability claims under the laws of the Disputed Jurisdictions.

       The parties do not dispute here that the Undisputed Minority Rule jurisdictions (California,

the District of Columbia, Florida, Maryland, Missouri, Nevada, Pennsylvania, Utah, Vermont,

West Virginia, and Massachusetts) have abandoned the manifest physical injury requirement for

claims seeking medical monitoring relief. ECF No. 1352 at 47–48. Nor do the parties dispute that

the Undisputed Traditional Rule jurisdictions (North Carolina, New Hampshire, and Delaware)

adhere to the traditional rule. ECF No. 2368 at 3, n.5. In the R&R, the Special Master found that

the remaining Disputed Jurisdictions would adhere to the traditional pleading requirements, and

there is no reason to deviate from that conclusion (with the exception of Tennessee, which also

should be found to adhere to the traditional rule for reasons explained below).

       Determining whether Plaintiffs have stated tort claims under the laws of the Disputed

Jurisdictions requires predicting whether the state’s highest court would adhere to the traditional

rule under Erie. ECF No. 2314 at 1, 7. As the Special Master and the District Court already have

recognized, Third Circuit precedents provide substantial instruction for making such predictions.

Remand Op. at 13–14; R&R at 6–7. District courts must “opt for the interpretation [of state law]

that restricts liability” absent a “clear indication,” “clear authority,” or an “authoritative signal”

that the state supreme court would expand liability. Remand Op. at 14–15; City of Phila. v. Lead

Indus. Ass’n, Inc., 994 F.2d 112, 115 (3d Cir. 1993); Travelers Indem. Co. v. Dammann & Co.,

Inc., 594 F.3d 238, 253 (3d Cir. 2010).




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       Where a state supreme court has not spoken to an issue, decisions of state intermediate

appellate courts are accorded significant weight absent some indication that the highest state court

would rule otherwise. City of Phila., 994 F.2d at 123; Sheridan v. NGK Metals Corp., 609 F.3d

239, 254 (3d Cir. 2010). However, federal courts may not predict an expansion of liability under

state law based upon trial court decisions or other federal courts’ Erie predictions that “jum[p]

ahead of the current state of [the relevant jurisdiction’s] law.” City of Phila., 994 F.2d at 126,

n.12. Nor may they do so based upon “policy arguments” or upon a purported “nationwide

consensus” of decisions of other states’ courts, particularly where in actuality there is a “split of

authority among the highest state courts[.]” Id. at 126 n.13, 125–26.

       The District Court correctly recognized that the starting point of the analysis here is the

traditional rule that manifest physical injury is a prerequisite to common law negligence and

product liability claims. Remand Op. at 16. Plaintiffs ask the Court to predict that the Disputed

Jurisdictions would abandon this traditional rule. ECF No. 2314 at 2–3. The analysis provided

in the Detailed State Law Survey section below shows no “clear authority” or “clear indication”

to support such a prediction for any of the relevant states. Infra Section III. The Court, therefore,

should dismiss Counts I–II and V–IX as asserted under the laws of the Disputed Jurisdictions and

the Undisputed Traditional Rule Jurisdictions.

               3.      The district court’s decisions in the Valsartan case shed no light on the
                       correct analysis or outcome here.

       Plaintiffs have erroneously relied on the district court’s decisions in the Valsartan case to

advocate for a contrary conclusion. ECF No. 2314 (Pls. Objs.) at 10; ECF No. 2314-3 at 4 (citing

In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig. (“Valsartan”), No. 19-2875, 2023 WL

1818922, at *68 (D.N.J. Feb. 8, 2023)); ECF No. 2314-3 at 4 (reproducing the relevant appendix

from Valsartan at 2023 WL 1818922, at *68). But Plaintiffs’ reliance is misplaced. The District



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Court observed in the Remand Order that the particular Valsartan decision on which Plaintiffs

have erroneously relied “involved class certification, not a motion to dismiss[,]” but that the

Valsartan court had issued “four prior opinions on motion to dismiss[.]” Remand Op. at 16 n. 16.

On remand, the District Court directed the parties to “analyze those decisions for the Special

Master’s review to the extent they would be helpful in determining his recommendation about how

this court should predict a state’s law on any particular issue.” Id. The Valsartan court’s decisions

are not helpful in determining the issues presented here by Respironics’s motion to dismiss.

       The Valsartan court’s class certification ruling is unhelpful because, there, the district court

addressed only whether variations in state law created individual inquiries that preclude the use of

class procedures. It concluded that deciding the procedural class certification question did not

require it to resolve any questions of state substantive law, including whether any given state

adheres to the traditional physical injury requirement. Valsartan, 2023 WL 1818922, at *68

(App.); ECF No. 2314-3 at 3. Instead, the Valsartan court reasoned that it needed only to

determine whether the state law issues were common among state sub-class members and could

be resolved on a sub-class-wide basis. Valsartan, 2023 WL 1818922, at *33, *36; see also id. at

*68 (explaining in notes that “class certification is NOT a liability ISSUE”) (emphasis in original).

       The Valsartan court’s prior motion to dismiss decisions also are unhelpful, because the

district court did not determine in those contexts whether the plaintiffs were required to allege

manifest physical injury to state a claim for medical monitoring relief under state law. See

Appendix A-1 to A-6 (Compilation of Valsartan Motion to Dismiss Rulings). The Valsartan court

issued six separate motion to dismiss rulings resolving different categories of arguments, none of

which is pertinent to the necessity of pleading manifest physical injury here:




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   MTD Opinion 1 considered arguments that certain claims were preempted by federal law and

    that the court should abstain in favor of the FDA’s primary jurisdiction. (Appx. A-1).

   MTD Opinion 2 considered the argument that plaintiffs lacked Article III standing because

    they failed to allege an injury in fact. (Appx. A-2). The district court rejected that argument

    and held that alleging exposure to a toxic substance is sufficient to allege an injury in fact.

   MTD Opinion 3 considered defendants’ arguments relating to claims for breach of express

    warranties, for breach of implied warranties, and for violation of the Magnuson‐Moss

    Warranty Act. The court did not consider whether state law requires plaintiffs to allege

    manifest physical injury to plead tort claims in that context. (Appx. A-3)

   MTD Opinion 4 considered arguments under Fed. R. Civ. P. 12(b)(6) relating to fraud‐based

    claims, including negligent misrepresentation, and strict liability claims for failure to warn and

    for design defect. The district court did not consider whether state law requires plaintiffs to

    allege manifest physical injury. (Appx. A-4).

   MTD Opinion 5 considered arguments relating to subsumption of certain claims by various

    states’ Products Liability Acts, Rule 12(b)(6) pleading deficiencies for common law claims of

    negligence and negligence per se, and certain strict liability claims against certain defendants.

       o In ruling on the plaintiffs’ negligence claim, the Valsartan court declined to consider

           whether the claim should be dismissed under the economic loss doctrine under certain

           states’ laws, and did not consider whether any state requires plaintiffs to allege a

           manifest physical injury to state a claim. (Appx. A-5 at 31).

       o In the same opinion, the court considered whether the plaintiffs’ stand-alone medical

           monitoring claims should be dismissed because many jurisdictions do not recognize

           such a claim. The district court dismissed outright stand-alone medical monitoring



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   claims alleged under the laws of Alabama, Arkansas, Connecticut, Georgia, Kentucky,

   Louisiana, Michigan, Mississippi, Nebraska, New Jersey, North Carolina, Oklahoma,

   South Carolina, Tennessee, Texas, Virginia, and Wisconsin. The court observed that

   its ruling did not “prejudice plaintiffs’ seeking recovery for medical monitoring in

   concert with any other claim in accordance with the laws of those jurisdictions,” but it

   did not consider whether plaintiffs were required to allege a present physical injury in

   those jurisdictions in order to state a claim. Id.

o The district court declined to dismiss stand-alone medical monitoring claims under the

   laws of Indiana, Iowa, and New Hampshire because, according to the court, these states

   “have either not, or inconsistently, ruled on allowing an independent medical

   monitoring claim.” (Appx A-5 at 33).

o The Valsartan court’s analysis of the stand-alone medical monitoring cause of action

   in that case is unhelpful here for multiple reasons.

          First, the district court included little or no substantive analysis explaining its

           reasoning, and did not conduct an Erie analysis to predict state law consistent

           with Third Circuit precedents.

          Second, since the Valsartan decision, the highest courts of Delaware and New

           Hampshire have rejected requests to create independent medical monitoring

           claims. Baker, 2023 WL 5993109, at *1; Brown v. Saint-Gobain Performance

           Plastics Corp., 300 A.3d 949, 952–53 (N.H. 2023).

          Finally, Plaintiffs here assert stand-alone medical monitoring claims under the

           laws of Colorado, Connecticut, Delaware, the District of Columbia, Florida,

           Massachusetts, Montana, New Hampshire, Pennsylvania, Utah, and West




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                   Virginia. Because Delaware and New Hampshire are now undisputed, the only

                   remaining disputed jurisdictions in which there is a question whether a stand-

                   alone medical monitoring claim is cognizable are Colorado, Connecticut, and

                   Montana. Although the Valsartan court correctly dismissed the plaintiffs’

                   stand-alone medical monitoring claim under Connecticut law (Appx. A-5 at

                   17), it did not state whether the plaintiffs asserted a claim under Colorado or

                   Montana law, and did not consider whether Colorado or Montana would permit

                   such a claim. As shown in the Detailed State Survey below, this Court should

                   find that Colorado and Montana do not recognize an independent cause of

                   action for medical monitoring damages.

   MTD Opinion 6 considered defendants’ arguments for dismissal of plaintiffs’ claims alleging

    FDA Liaisons, Wrongful Death, Survival Actions, Loss of Consortium, Punitive Damages,

    and Unjust Enrichment. The court did not consider whether plaintiffs were required to allege

    a manifest physical injury to state a claim under state law in that context. (Appx. A-6).

       B.      Fraud and Negligent Misrepresentation Claims (Counts XIII and III)

       The District Court dismissed without prejudice Plaintiffs’ fraud claim alleged in the PIAC

for failure to plead fraud with requisite particularity under Federal Rule of Civil Procedure 9(b).

ECF No. 2471 at 7. Plaintiffs’ fraud claims in the MMSAC are premised on the same unadorned,

conclusory allegations. ECF No. 1351 at 13–14; compare MMSAC ¶¶ 677–90 with PIAC ¶¶ 563–

76. Plaintiffs’ fraud claim in the MMSAC (Count XIII) should be dismissed on the same grounds. 9

       Respironics likewise incorporated by reference its arguments for dismissal of Plaintiffs’



9
  While plaintiffs generally do not need to allege manifest physical injury to plead fraud or
negligent misrepresentation causes of action, research has uncovered no authority in any
jurisdiction expressly recognizing that medical monitoring as an available remedy for such claims.


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claim alleging Negligent Misrepresentation presented in its Motion to Dismiss the PIAC. ECF

No. 1351 at 13. In the District Court’s Order granting in part Respironics’ Motion to Dismiss the

PIAC, the Court adopted the Special Master’s recommendation to dismiss negligent

misrepresentation claims under Alabama, Arkansas, Connecticut, Idaho, Indiana, Maine, New

York, North Carolina, South Dakota, and Virginia law. See ECF No. 2471 at 18; see also ECF

No. 2271 at 58-75. The District Court also granted with prejudice Respironics’ motion to dismiss

the PIAC’s negligent misrepresentation claims under Minnesota law. ECF No. 2471 at 18.

Plaintiffs’ duplicate claim in the MMSAC should be dismissed to the same extent.

       C.      Independent Medical Monitoring Claim (Count IV)

       A small minority of states have created an exception to the manifest physical injury

requirement by recognizing a new, independent medical monitoring cause of action. Plaintiffs

assert such a claim under the laws of eleven states. MMSAC ¶¶ 481-99. Respironics agrees that,

as a general matter, a stand-alone medical monitoring claim is cognizable under the laws of the

District of Columbia, Florida, Massachusetts, Pennsylvania, Utah, and West Virginia. However,

no such claim exists in Delaware, New Hampshire, Colorado, Connecticut, and Montana.

       Plaintiffs have abandoned their Delaware and New Hampshire claims following recent

decisions of those states’ highest courts declining to adopt an independent medical monitoring

cause of action. ECF No. 2368 at 1 n.2.

       As shown in the State Law Survey below, the three remaining states (Colorado,

Connecticut, and Montana) have not recognized an independent medical monitoring cause of

action, and their highest courts have given no indication that they would do so. Infra Sections

III.C.3, III.C.4 and III.C.14. In the absence of such a clear indication, this “Court cannot invent

new state law claims.” Banks v. E.I. du Pont de Nemours and Co., No. 19-1672, 2022 WL

3139087, at *9 (D. Del. Aug. 4, 2022). Plaintiffs’ independent medical monitoring claims brought


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under the laws of Colorado, Connecticut, and Montana should therefore be dismissed.

       D.      Products Liability Act Claims (Count XIV)

       Plaintiffs’ Products Liability Act claims (Count XIV) also should be dismissed for similar

reasons. These claims are premised on the Products Liability Acts of New Jersey, Connecticut,

Indiana, Kansas, Ohio, Tennessee, and Washington. Each of these statutes requires allegations of

a manifest physical injury to state a claim for which relief can be granted.

               1.      New Jersey.

       The New Jersey Products Liability Act (“NJPLA”) defines a “product liability action” as

“any claim or action brought by a claimant for harm caused by a product, irrespective of the theory

underlying the claim, except actions for harm caused by breach of an express warranty.” Sinclair,

948 A.2d at 593 (quoting N.J.S.A. 2A:58C–1(b)(3)). The NJPLA further defines “harm” as (a)

physical damage to property, other than to the product itself; (b) personal physical illness, injury,

or death; (c) pain and suffering, mental anguish or emotional harm; and (d) any loss of consortium

or services or other loss deriving from any type of harm described in subparagraphs (a) through

(c) of this paragraph.”10 Id. (emphasis in original).

       The New Jersey Supreme Court interpreted the NJPLA “to require a physical injury.”

Sinclair, 948 A.2d at 595. The court grounded this holding in a textual interpretation of the

NJPLA, and in its pre-NJPLA adoption of the view of Restatement (Second) of Torts § 402A

(1965), in which strict liability in tort for defective products spoke only in terms of physical harm.

Id. It also found that the legislative history of the NJPLA did not evince an intent to “eliminate

that physical component.” Id. Accordingly, New Jersey requires plaintiffs asserting any claim for


10
  The products liability acts of Connecticut, Indiana, Kansas, Ohio, and Tennessee (among others)
similarly define “harm” or “injury” (Id. at 594, n.1), and the Washington Supreme Court has
interpreted its act to require physical injury (Id. at 595 n.2 (citing Lenhardt v. Ford Motor Co., 683
P.2d 1097, 1099 (Wash. 1984) (en banc)).


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harm from a product to plead and prove a present physical injury, a requirement which cannot be

avoided by bringing the claim under a different name (e.g., a negligence or consumer protection

claim). Id. at 595–96; id. at 589 (“[T]he [NJPLA] is the sole source of remedy for plaintiff’s

defective product claim[.]”).

       In Sinclair, the plaintiffs filed a class action complaint against the manufacturers,

advertisers, sellers, marketing partners, and promoters of the drug Vioxx alleging claims for

negligence, violations of the NJPLA and New Jersey’s Consumer Fraud Act, breach of express

and implied warranties, and unjust enrichment. 948 A.2d at 589. The plaintiffs alleged that by

ingesting Vioxx they “are at enhanced risk of serious undiagnosed and unrecognized myocardial

infarction, commonly referred to as ‘silent heart attack,’ and other latent and unrecognized

injuries.” Id. They sought medical monitoring costs, claiming that such costs represent “an

ascertainable economic loss.” Id.

       The New Jersey Supreme Court determined that “the heart of plaintiffs’ case is the potential

for harm caused by Merck’s drug”—“[i]t is obviously a product liability claim.” Sinclair, 948

A.2d at 596. Because the Sinclair plaintiffs did not allege “manifest injury[,]” id. at 589, the court

held that they failed to state a claim and, because the NJPLA was their exclusive remedy, it barred

the plaintiffs’ remaining claims. Id. at 595–96.

       So too here. Plaintiffs’ claims all allege “the potential for harm caused by [a product],”

and thus fall within the scope of the NJPLA—with the lone exception of the breach of express

warranty claim (Count XII). Sinclair expressly rejected Plaintiffs’ argument that the NJPLA’s

manifest physical harm requirement can be met by economic loss from the cost of future medical

monitoring procedures or by allegations of “enhanced risk” of “latent and unrecognized injuries.”

Sinclair, 948 A.2d at 589, 594–95. And Sinclair’s reasoning precludes any contention that




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“subcellular or other latent physiological changes” constitute manifest physical injury.

               2.      Connecticut.

       Under the Connecticut Products Liability Act (“CPLA”), “[a] product liability

claim . . . may be asserted and shall be in lieu of all other claims against product sellers, including

actions of negligence, strict liability and warranty, for harm caused by a product.” Gerrity v. R.J.

Reynolds Tobacco Co., 818 A.2d 769, 773 (Conn. 2003) (quoting General Statutes § 52-572n (a))

(emphasis and quotations omitted). “[H]arm” is “damage to property, including the product itself,

and personal injuries including wrongful death.” General Statutes § 52-572m (d).

       The Connecticut Supreme Court has interpreted the CPLA to require allegations of

manifest physical personal injuries or property damage, and has held that a “financial injury” alone

does not meet this requirement. Gerrity, 818 A.2d at 775. Plaintiffs’ CPLA claim (Count XIV),

therefore, should be dismissed. Economic losses, such as medical monitoring damages not arising

from a manifest physical injury, are not actionable “harm” under Gerrity.

               3.      Indiana.

       The Indiana Products Liability Act (“IPLA”) “governs all actions . . . for physical harm

caused by a product . . . regardless of the substantive legal theory or theories upon which the action

is brought.” Ind. Code Ann. § 34-20-1-1. As in New Jersey, “‘[p]hysical harm’ is defined as

‘bodily injury, death, loss of services, and rights arising from any such injuries, as well as sudden,

major damage to property.’” DeVane v. Arch Wood Prot., Inc., 197 N.E. 3d 343, 346–47 (Ind. Ct.

App. 2022) (quoting Ind. Code Ann. § 34-6-2-105(a)).

       In Devane, the Indiana Court of Appeals held that neither economic harm nor an increased

risk of future illness or injury constitute an actionable “physical harm” under the IPLA. 197 N.E.

3d at 347. And in AlliedSignal, Inc. v. Ott, the Indiana Supreme Court held that an IPLA actionable

injury “does not occur upon mere exposure” or subclinical physiological change and overruled a


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prior decision to the extent it “holds to the contrary[.]” 785 N.E. 2d 1068, 1075, n.8 (Ind. 2003).

Rather, the court held that in the case of a latent disease—there, asbestos-related illness—

actionable injury does not accrue until the disease is diagnosable. Id. at 1075. An IPLA claim

does not accrue until the latent injury (i.e., disease) “has actually manifested itself[.]” Id.

       Accordingly, Plaintiffs fail to plead “physical harm” for purposes of the IPLA, and the

Plaintiffs’ IPLA claim should be dismissed (Count XIV).

               4.      Kansas.

       The Kansas Products Liability Act (“KPLA”) governs “any claim or action brought for

harm caused by the manufacture, production, making, construction, fabrication, design, formula,

preparation, assembly, installation, testing, warnings, instructions, marketing, packaging, storage

or labeling of the relevant product.” Kan. Stat. Ann. § 60-3302(c). It defines an actionable “harm”

as “(1) Damage to property; (2) personal physical injuries, illness and death; (3) mental anguish or

emotional harm attendant to such personal physical injuries, illness or death”—“not direct or

consequential economic loss.” Kan. Stat. Ann. § 60-3302(d).

       Plaintiffs’ alleged enhanced risk of future disease fails to state a KPLA claim. In Harding

v. K.C. Wall Prod., Inc., the Kansas Supreme Court held that a product liability cause of action

asserting “latent disease” does not exist until the disease is “diagnosed.” 831 P.2d 958, 965 (Kan.

1992). Plaintiffs’ asserted economic losses for future medical monitoring are also outside the

KPLA’s definition of “harm” as “consequential” damages.              Kan. Stat. Ann. § 60-3302(d).

Plaintiffs’ KPLA claim (Count XIV) should be dismissed.

               5.      Ohio.

       Plaintiffs’ product liability claim under the Ohio Products Liability Act (“OPLA”) fails for

the same reasons. Ohio Rev. Code § 2307.71 et seq. (Count XIV). The OPLA defines “product

liability claim” as “a claim or cause of action . . . that seeks to recover compensatory damages


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from a manufacturer or supplier for death, physical injury to person, emotional distress, or physical

damage to property other than the product in question. . . .” Ohio Rev. Code § 2307.71(A)(13).

       Plaintiffs’ OPLA claim fails. While “a cause of action may concern a product, it is not a

product liability claim within the purview of Ohio’s product liability statutes unless it alleges

damages other than economic ones[.]” LaPuma v. Collinwood Concrete, 661 N.E. 2d 714, 716

(Ohio 1996). “Economic loss” is defined as “direct, incidental, or consequential pecuniary loss,

including, but not limited to, damage to the product in question, and nonphysical damage to

property other than that product.” Id. at 716 (quoting Ohio Rev. Code § 2307.71(A)(2)). Here,

Plaintiffs’ only damages are purely economic: alleged medical monitoring costs. Under Ohio law,

any claim for “bodily injury . . . caused by exposure to hazardous or toxic chemicals” does not

exist until the injury related to that exposure is diagnosable.            Ohio Rev. Code Ann.

§ 2305.10(B)(1). Plaintiffs’ OPLA claim (Count XIV) should be dismissed.

               6.      Tennessee.

       The Tennessee Products Liability Act (“TPLA”) defines a “product liability action” as “all

actions brought for or on account of personal injury, death or property damage caused by or

resulting from the manufacture, construction, design, formula, preparation, assembly, testing,

service, warning, instruction, marketing, packaging or labeling of any product.” Tenn. Code Ann.

§ 29-28-102(6). It “includes, but is not limited to, all actions based upon the following theories:

strict liability in tort; negligence; breach of warranty, express or implied; breach of or failure to

discharge a duty to warn or instruct, whether negligent, or innocent; misrepresentation,

concealment, or nondisclosure, whether negligent, or innocent; or under any other substantive legal

theory in tort or contract whatsoever[.]” Id.




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       “[W]ithout a claim for personal injury or property damage, no claim may lie under the

[TPLA].” City of Franklin v. W.L. Hailey & Co., 634 S.W. 3d 16, 27 (Tenn. Ct. App. 2019). In

Potts v. Celotex Corp., the Tennessee Supreme Court held that the risk of contracting a latent

disease (there, mesothelioma) from harmful exposure is not a “personal injury” and thus does not

accrue until it manifests (i.e., is diagnosable). 796 S.W. 2d 678, 680–81, 684 (Tenn. 1990).

Plaintiffs’ comparable assertions of an enhanced risk of latent disease, therefore, fail to allege an

actionable “personal injury.” Id. at 681 (explaining that plaintiffs cannot recover damages for an

“increased risk of cancer”). Plaintiffs’ TPLA claim (Count XIV), therefore, should be dismissed.

               7.      Washington.

       The Washington Products Liability Act (“WPLA”) defines “product liability claim” as

“any claim or action brought for harm caused by the manufacture, production, making,

construction, fabrication, design, formula, preparation, assembly, installation, testing, warnings,

instructions, marketing, packaging, storage or labeling of the relevant product.” Wash. Rev. Code

Ann. § 7.72.010(4). “Although much of the WPLA was taken from the Model Uniform Product

Liability Act (UPLA), 44 Fed. Reg. 62, 713 (1979), the legislature chose not to use the UPLA’s

definition of ‘harm’” that has been adopted by other states. Bylsma v. Burger King Corp., 293

P.3d 1168, 1170 (Wash. 2013). The WPLA, instead, defines “harm” to include “any damages

recognized by the courts of this state . . . [except for] direct or consequential economic loss under

Title 62A RCW.” Wash. Rev. Code Ann. § 7.72.010(6) (emphasis added). Under this definition,

courts should “look to Washington case law to determine whether the damages in question are

‘recognized by the courts of this state.’” Bylsma, 293 P.3d at 1170 (quoting RCW 7.72.010(6)).

       Medical monitoring in Washington is a remedy that can be recovered only if the traditional

elements of liability are proven, including manifest physical injury. See Koker v. Armstrong Cork,

Inc., 804 P.2d 659, 664, 669 (Wash. Ct. App. 1991) (WPLA requires the plaintiff to suffer


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“physical harm,” and claims seeking “damages for a future harm” from a latent disease are not

actionable until “injury results”); Duncan v. Nw. Airlines, Inc., 203 F.R.D. 601, 605–09 (W.D.

Wash. 2001) (predicting that Washington courts would not recognize a cause of action for medical

monitoring because Washington law requires existing injury in order to pursue a negligence

claim); In re Berg Litig., 293 F.3d 1127, 1133 (9th Cir. 2002) (citing Duncan with approval);

Hofstee v. Dow, 36 P.3d 1073, 1076 (Wash. Ct. App. 2001) (“The WPLA explicitly confines

recovery to physical harm suffered by persons and property[.]”) (citation omitted). Plaintiffs

accordingly must allege a manifest physical injury to state a claim for medical monitoring costs

under the WPLA.

       Because the law of all of the seven states under which Plaintiffs allege Products Liability

Act claims is in accord, and each requires Plaintiffs to allege a manifest physical injury to state a

Product Liability Act claim for medical monitoring damages, Count XIV should be dismissed.

       E.      Breach of Implied and Express Warranty Claims (Counts X–XII)

       The District Court asked the Special Master to consider, with respect to Plaintiffs’ breach

of warranty claims (Counts X-XII), whether “the elements of those claims are sufficiently pleaded,

i.e., whether factual allegations about economic harm or subcellular change are sufficient.”

Remand Op. at 19. They are not.

       Plaintiffs’ breach of warranty claims seek consequential damages in the form of “the

present and ongoing need to incur the cost of medically necessary diagnostic testing[.]” MMSAC

¶¶ 620, 648. Consequential damages, however, may be recovered only where a breach of warranty




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has resulted in “injury to person or property.”11 Ford v. Aldi, Inc., 832 S.W. 2d 1, 2 (Mo. Ct. App.

1992). For all of the reasons stated above, Plaintiffs allege no “injury to person or property” here.

Plaintiffs allege only an increased risk of developing an “injury to person” in the future. Plaintiffs’

claim for future medical monitoring costs thus fails to state a claim for a recoverable

“consequential damage” under the UCC, as adopted by state law. Accordingly, Plaintiffs’ implied

and express warranty claims must be dismissed. See Ford, 832 S.W. 2d at 2 (holding that plaintiff

could not recover consequential emotional distress damages through an implied warranty claim

“absent any physical injury,” because Section 2-715 requires “injury to person”).

       Plaintiffs’ breach of express warranty claim also fails for the additional reason that the

recalled devices’ warranty expressly “disclaims all liability for economic loss . . . or consequential

damages which may be claimed to arise from any sale or use of this product.” ECF No. 916 at 18

(quoting Economic Loss TAC Ex. 47 at 32). 12 Because such express disclaimers of consequential


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   “Consequential damages resulting from the seller’s breach include . . . (b) injury to person or
property proximately resulting from any breach of warranty.” Unif. Commercial Code § 2-715;
Ala. Code § 7-2-715; Alaska Stat. § 45.02.715; Ariz. Rev. Stat. Ann. § 47-2715; Ark. Code Ann.
§ 4-2-715; Cal. Com. Code § 2715; Colo. Rev. Stat. § 4-2-715; Conn. Gen. Stat. Ann. § 42a-2-
715; Del. Code Ann. tit. 6, § 2-715, et seq.; D.C. Code Ann. § 28:2-715; Fla. Stat. Ann. § 672.715,
et seq.; O.C.G.A. § 11-2-715, et seq.; Haw. Rev. Stat. § 490:2-715; Idaho Code § 28-2-715; Ill.
Comp. Stat. Ann. Ch. 810, 5/2-715; Ind. Code Ann. § 26-1-2-715; Iowa Code Ann. § 554.2715;
Kan. Stat. Ann. § 84-2-715; Me. Rev. Stat. Ann. tit. 11, § 2-715; Md. Code Ann., Com. Law § 2-
715; Mass. Gen. Laws Ann. Ch. 106, § 2-715; Minn. Stat. Ann. § 336.2-715; Mo. Rev. Stat. §
400.2-715; Mont. Code Ann. § 30-2-715; Neb. Rev. Stat. § 2-715; Nev. Rev. Stat. § 104.2715;
N.H. Rev. Stat. Ann. § 382-A:2-715; N.J. Stat. Ann. § 12A:2-715; N.M. Stat. Ann. § 55-2-715;
N.Y. U.C.C. Law § 2-715; N.C. Gen. Stat. Ann. § 25-2-715; Ohio Rev. Code Ann. § 1302.89;
Okla. Stat. tit. 12A, § 2-715; Or. Rev. Stat. § 72.7150; 13 Pa. Stat. Ann. § 2715; R.I. Gen. Laws §
6A-2-715; S.C. Code Ann. § 36-2-715; Tenn. Code Ann. § 47-2-715; Tex. Bus. & Com. Code §
2.715; Utah Code Ann. § 70A-2-715; Va. Code Ann. § 8.2-715; Vt. Stat. Ann. tit. 9A, § 2-715;
Wash. Rev. Code § 62A.2-715; and W. Va. Code § 46-2-715.
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  Respironics argued in its motion to dismiss the Economic Loss Master Complaint that the
Recalled Devices’ express warranty disclaims consequential damages claims for economic losses.




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damages are enforceable under the Uniform Commercial Code, Plaintiffs’ claims for consequential

economic damages in the form of medical monitoring costs resulting from an alleged breach of

express warranty, and not arising from a personal injury, should be dismissed for this reason as

well. See U.C.C. §§ 2-7219(1)(a), 2-719(3)).

       Under the plain text of U.C.C. section 2-715(2), as incorporated by state statutes,

consequential economic damages may be recovered only where a breach of warranty has resulted

in “injury to person or property.” 13 See Ford, 832 S.W. 2d at 2.

III.   DETAILED STATE LAW SURVEY

       This section analyzes the law of each relevant state, as requested by the District Court, and

demonstrates that the majority of state high courts that have addressed the issue have adhered to

the traditional manifest physical injury pleading requirement for medical monitoring claims and

for claims asserted under Product Liability Acts in certain relevant jurisdictions. They have

generally echoed the concerns expressed by the United States Supreme Court in Metro-North

Commuter Railroad Company v. Buckley, 521 U.S. 424 (1997) that altering the traditional rule

brings with it a risk of (i) overloading the courts with endless litigation brought by millions of

plaintiffs who allege that they were exposed to hazardous substances but are not sick, 14 (ii)

diminishing the resources available to compensate plaintiffs suffering actual physical injuries, 15


See ECF 916 at 18. Respironics’s Motion to Dismiss the Economic Loss Master Complaint was
rendered moot by the parties’ settlement, but Respironics incorporated the same argument into its
Motion to Dismiss the MMSAC, as it applies in full to Plaintiffs’ breach of express and implied
warranty claims here (Count X–XII).
13
   “Consequential damages resulting from the seller’s breach include … (b) injury to person or
property proximately resulting from any breach of warranty.” Unif. Commercial Code § 2-715.
14
  Baker, 304 A.2d at 196; Berry, 181 N.E. 3d at 688; Henry, 701 N.W. 2d at 694–95; Wood, 82
S.W. 3d at 857–58; Hinton, 813 So. 2d at 831.
15
  Baker, 304 A.2d at 196–97; Henry, 701 N.W. 2d at 690–91, 696; Wood, 82 S.W. 3d at 857;
Hinton, 813 So. 2d at 831.


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and (iii) creating uncertainty both in predicting and in determining liability. 16 In light of these

policy considerations, the highest courts of most jurisdictions have since Buckley generally held

that the decision to abandon the traditional rule is best left to the legislature. 17

         The minority of states that have diverged from the traditional rule did so based on a policy

driven determination to treat the freedom from the economic costs associated with future medical

monitoring as a legally protected interest. 18 Under Third Circuit precedent, this Court should

predict that the Disputed Jurisdictions will decline to recognize such freedom as a distinct

protected interest, and instead will continue to adhere to the manifest physical injury requirement,

as demonstrated below.

         A.      Undisputed Traditional Rule Jurisdictions that Adhere to the Manifest
                 Physical Injury Pleading Requirement.

                 1.     North Carolina.

         In Curl v. American Multimedia, Inc., 654 S.E. 2d 76, 81 (N.C. Ct. App. 2007), the court

held that medical monitoring costs are merely another form of relief, available if the plaintiff

proves the required elements for liability, including “present injury.” 654 S.E. 2d at 81. The Curl

plaintiffs, however, alleged no manifest physical injury. Instead, they argued that “traditional tort

law” permits claims based on “(1) infliction of a loss of chance of continued health/increased risk




16
     Berry, 181 N.E. 3d at 688; Henry, 701 N.W. 2d 690–91; Hinton, 813 So. 2d at 831.
17
  Baker, 304 A.2d at 197; Brown, 300 A.3d at 952; Henry, 701 N.W. 2d at 695, 697; Wood, 82
S.W. 3d at 858.
18
   Friends for all Children, 746 F.2d at 826; Ayers, 525 A.2d at 304, 310–12; Hansen, 858 P.2d at
976–78; Simmons, 674 A.2d at 235–240, n.11; Petito, 750 So. 2d at 104–06; Bower, 522 S.E. 2d
at 428–31; Meyer ex rel. Coplin v. Fluor Corp., 220 S.W. 3d 712, 716-18 (Mo. 2007); Exxon
Mobil, 71 A.3d at 75–76, 80; Sadler, 340 P.3d at 1270–71; see also Potter, 863 P.2d at 822–23
(taking a slightly different approach, broadly interpreting California’s Civil Code to allow claims
based on economic costs of medical monitoring and supporting this determination with policy
analysis).


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of serious disease; (2) an invasion of personal autonomy, specifically of the right not to be

compelled to undergo heightened medical monitoring for the remainder of their lives; and (3) the

instilling of fear of cancer or other deadly disease.” Id. at 80–81. The appellate court rejected

these arguments and held that North Carolina requires a manifest physical injury to state a claim

in tort for medical monitoring damages, recognizing that “the increased risk of disease as a present

injury, or of the cost of medical monitoring as an element of damages, will present complex policy

questions ... within the purview of the legislature and not the courts.” Id. at 81.

       The federal district court in Priselac v. Chemours Co. correctly held that Curl dictated an

Erie prediction that the highest court of North Carolina would not abandon the traditional manifest

physical injury requirement for claims seeking medical monitoring damages. No. 7:20-cv-190,

2022 WL 909406, at *3 (E.D.N.C. Mar. 28, 2022) (“Under North Carolina law, medical

monitoring is not cognizable as an independent cause of action or an element of damages absent a

present physical injury.”).

               2.      New Hampshire.

       In Brown v. Saint-Gobain Performance Plastics Corp., 300 A.3d 949 (N.H. 2023), the

Supreme Court of New Hampshire held that “the mere existence of an increased risk of future

development of disease is not sufficient under New Hampshire law to constitute a legal injury for

purposes of stating a claim for the costs of medical monitoring as a remedy or as a cause of action

in the context of plaintiffs who were exposed to a toxic substance but have no present physical

injury.” Id. at 952. The court rejected the argument that an alleged need to incur medical

monitoring costs in the future is an actionable injury. Id. “[T]he plaintiffs’ characterization of

their ‘injury’ as ‘the present need for and cost of diagnostic testing’ conflates ‘an allegation of

‘injury,’ which is ‘an instance of actionable harm,’ with ‘a claim for ‘damages,’ that is, ‘a sum of

money awarded to one who has suffered an injury.’” Id. In making this conflation, “the plaintiffs


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effectively conceded that they do not, at present have an injury.” Id. (emphasis in original).

               3.      Delaware.

       In Baker v. Croda Inc., 304 A.3d 191 (Del. 2023) the court recognized that “Delaware tort

law presupposes that plaintiffs will bring suits after they suffer physical symptoms, not before,”

noting that “the statute of limitations for toxic tort claims starts to run when a plaintiff begins to

experience physical effects.” Id. at 196 (emphasis in original). Accordingly, the court declined to

abandon the present physical injury requirement for medical monitoring claims, holding that “an

increased risk of harm only constitutes a cognizable injury when manifested by physical illness.”

Id. at 197. Plaintiffs’ allegations of “subcellular or other latent physiological changes” that

increase the risk of future disease is not “cognizable injury” in Delaware.

       B.      Undisputed Minority Rule Jurisdictions that Permit Claims for Medical
               Monitoring Relief Without Allegation of Manifest Physical Injury (and
               Elements Where Specified).

               1.      District of Columbia.

       In Friends for All Children, Inc. v. Lockheed Aircraft Corp., the United States Circuit Court

for the District of Columbia predicted that the District of Columbia would permit a plaintiff to

“maintain an action for diagnostic examinations in the absence of proof that he or she was

physically injured.” 746 F.2d 816, 824–26 (D.C. Cir. 1984). 19 The District of Columbia courts

have not articulated the elements that a plaintiff must plead to state a claim for medical monitoring.

               2.      New Jersey.

       In Ayers v. Jackson Township, the Supreme Court of New Jersey held “that the cost of

medical surveillance is a compensable item of damages where the proofs demonstrate, through



19
   The Undisputed Minority Rule jurisdictions in this section are listed in the chronological order
in which each was held to have abandoned the manifest physical injury requirement for purposes
of alleging a claim for medical monitoring relief.


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reliable expert testimony predicated upon the significance and extent of exposure to chemicals, the

toxicity of the chemicals, the seriousness of the diseases for which individuals are at risk, the

relative increase in the chance of onset of disease in those exposed, and the value of early

diagnosis, that such surveillance to monitor the effect of exposure to toxic chemicals is reasonable

and necessary.” 525 A.2d 287, 312 (N.J. 1987).

       However, the fact that the New Jersey Supreme Court permitted no-injury medical

monitoring claims in Ayers is of no help to Plaintiffs here, because Plaintiffs’ claims are products

liability claims that are subsumed by the NJPLA. In Sinclair, the New Jersey Supreme Court held

that the NJPLA requires manifest physical injury for any claim asserting “potential harm” “caused

by a product,” supra Section II.D.1; Sinclair, 948 A.2d at 595, and that the NJPLA subsumes all

products liability causes of action, including Plaintiffs’ claims here. Id. Accordingly, Plaintiffs’

negligence and products liability claims under New Jersey law should be dismissed

notwithstanding Ayers.

               3.      California.

       In Potter v. Firestone Tire & Rubber Co., the Supreme Court of California held that

medical monitoring costs could be recovered in a negligence action without proof of present

physical injury or “future injury that is more likely than not to occur” provided the plaintiff can

plead and prove facts establishing that “the need for future monitoring is a reasonably certain

consequence of a plaintiff’s toxic exposure and that the recommended monitoring is reasonable.”

863 P.2d 795, 822–25 (Cal. 1993).

       “In determining the reasonableness and necessity of monitoring, the following factors are

relevant: (1) the significance and extent of the plaintiff’s exposure to chemicals; (2) the toxicity of

the chemicals; (3) the relative increase in the chance of onset of disease in the exposed plaintiff as

a result of the exposure, when compared to (a) the plaintiff’s chances of developing the disease


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had he or she not been exposed, and (b) the chances of the members of the public at large of

developing the disease; (4) the seriousness of the disease for which the plaintiff is at risk; and (5)

the clinical value of early detection and diagnosis.” Id. at 824–25.

               4.      Utah.

       In Hansen v. Mountain Fuel Supply Co., the Supreme Court of Utah held that a plaintiff

could state a claim to recover medical monitoring damages without alleging a present physical

injury if the plaintiff alleges and proves “the following: (1) exposure (2) to a toxic substance,

(3) which exposure was caused by the defendant’s negligence, (4) resulting in an increased risk

(5) of a serious disease, illness, or injury (6) for which a medical test for early detection exists

(7) and for which early detection is beneficial, meaning that a treatment exists that can alter the

course of the illness, (8) and which test has been prescribed by a qualified physician according to

contemporary scientific principles.” 858 P.2d 970, 975–81 (Utah 1993).

               5.      Pennsylvania.

       In Simmons v. Pacor, Inc., the Supreme Court of Pennsylvania held that a claim for medical

monitoring costs can be stated without alleging a manifest physical injury. 674 A.2d 232, 239 (Pa.

1996). The following year, in Redland Soccer Club, Inc. v. Department of the Army & Department

of Defense of the U.S., 696 A.2d 137, 145–46 (Pa. 1997), the court established the elements for a

medical monitoring claim: “(1) exposure greater than normal background levels; (2) to a proven

hazardous substance; (3) caused by the defendant's negligence; (4) as a proximate result of the

exposure, plaintiff has a significantly increased risk of contracting a serious latent disease; (5) a

monitoring procedure exists that makes the early detection of the disease possible; (6) the

prescribed monitoring regime is different from that normally recommended in the absence of the

exposure; and (7) the prescribed monitoring regime is reasonably necessary according to

contemporary scientific principles.”


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               6.      Florida.

       In Petito v. A.H. Robins Co., 750 So. 2d 103, 105–08 (Fla. Dist. Ct. App. 1999), the court

held that “a trial court may use its equitable powers to create and supervise a fund for medical

monitoring purposes”—even if the plaintiff does not have a present physical injury—if she proves:

“(1) exposure greater than normal background levels; (2) to a proven hazardous substance;

(3) caused by the defendant’s negligence; (4) as a proximate result of the exposure, plaintiff has a

significantly increased risk of contracting a serious latent disease; (5) a monitoring procedure

exists that makes the early detection of the disease possible; (6) the prescribed monitoring regime

is different from that normally recommended in the absence of the exposure; and, (7) the prescribed

monitoring regime is reasonably necessary according to contemporary scientific principles.”

               7.      West Virginia.

       In West Virginia a plaintiff may state a medical monitoring claim upon allegations: “that

(1) he or she has, relative to the general population, been significantly exposed; (2) to a proven

hazardous substance; (3) through the tortious conduct of the defendant; (4) as a proximate result

of the exposure, plaintiff has suffered an increased risk of contracting a serious latent disease;

(5) the increased risk of disease makes it reasonably necessary for the plaintiff to undergo periodic

diagnostic medical examinations different from what would be prescribed in the absence of the

exposure; and (6) monitoring procedures exist that make the early detection of a disease possible.”

Bower v. Westinghouse Elec. Corp., 522 S.E. 2d 424, 432–33 (W. Va. 1999).

               8.      Missouri.

       Under Missouri law “a plaintiff can obtain damages for medical monitoring” without

alleging present physical injury, “upon a showing that ‘the plaintiff has a significantly increased

risk of contracting a particular disease relative to what would be the case in the absence of

exposure” and “that ‘medical monitoring is, to a reasonable degree of medical certainty necessary


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in order to diagnose properly the warning signs of disease.’” Meyer, 220 S.W. 3d at 718.

                9.      Massachusetts.

        To state a claim for medical monitoring damages without alleging a manifest physical

injury, a plaintiff must allege that: “(1) The defendant’s negligence (2) caused (3) the plaintiff to

become exposed to a hazardous substance that produced, at least, subcellular changes that

substantially increased the risk of serious disease, illness, or injury (4) for which an effective

medical test for reliable early detection exists, (5) and early detection, combined with prompt and

effective treatment, will significantly decrease the risk of death or the severity of the disease,

illness or injury, and (6) such diagnostic medical examinations are reasonably (and periodically)

necessary, conformably with the standard of care, and (7) the present value of the reasonable cost

of such tests and care, as of the date of the filing of the complaint.” Donovan v. Philip Morris

USA, Inc., 914 N.E. 2d 891, 902 (Mass. 2009).

                10.     Maryland.

        In Exxon Mobil Corp. v. Albright, the Maryland Court of Appeals held that medical

monitoring costs are recoverable as a remedy without proof of physical injury, provided that the

plaintiff proves that they are “reasonable” and “necessary due to a reasonably certain and

significant increased risk of developing a latent disease as a result of exposure to a toxic

substance.” 71 A.3d 30, 81–82 (Md. 2013). “In awarding relief, a court must consider whether

the plaintiff has shown: (1) that the plaintiff was significantly exposed to a proven hazardous

substance through the defendant’s tortious conduct; (2) that, as a proximate result of significant

exposure, the plaintiff suffers a significantly increased risk of contracting a latent disease; (3) that

increased risk makes periodic diagnostic medical examinations reasonably necessary; and (4) that

monitoring and testing procedures exist which make the early detection and treatment of the

disease possible and beneficial.” Id. at 81–82.


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       “To determine what is a ‘significantly increased risk of contracting a latent disease’ for a

particular plaintiff, the court may consider quantifiable and reliable medical expert testimony that

indicates the plaintiff’s chances of developing the disease had he or she not been exposed,

compared to the chances of the members of the public at large of developing the disease.” Id. at

82. If the “plaintiff sustains his or her burden of proof in recovering this form of relief, the court

should award medical monitoring costs ordinarily by establishing equitably a fund, administered

by a trustee, at the expense of the defendant.” Id. at 82.

               11.     Nevada.

       In Sadler v. PacifiCare of Nev., the Supreme Court of Nevada held that “a plaintiff may

state a cause of action for negligence with medical monitoring as the remedy without asserting that

he or she has suffered a present physical injury.” 340 P.3d 1264, 1270 (Nev. 2014). “[I]n a

negligence action for which medical monitoring is sought as a remedy, a plaintiff may satisfy the

injury requirement for the purpose of stating a claim by alleging that he or she is reasonably

required to undergo medical monitoring beyond what would have been recommended had the

plaintiff not been exposed to the negligent act of the defendant.” Id. at 1272.

               12.     Vermont.

       The Vermont General Assembly has created a statutory medical monitoring cause of

action. See Vt. Stat. Ann. tit. 12, §§ 7201, 7202. Under the statute, a person “without present

injury or disease” may assert a cause of action for medical monitoring costs upon proof of:

“(1) exposure at a rate significantly greater than the general population; (2) to a proven toxic

substance; (3) as a result of tortious conduct of the defendant; (4) as a proximate result of the

exposure, plaintiffs have suffered an increased risk of contracting a serious disease; (5) the

increased risk makes it medically necessary for the plaintiffs to undergo periodic medical

examination different from that prescribed for the general population in the absence of exposure;


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and (6) monitoring procedures exist that are reasonable in cost and safe for use.” Id.

       C.      Disputed Jurisdictions for Which the Court Should Predict that the State’s
               Highest Court Would Adhere to the Manifest Physical Injury Requirement
               for Tort Claims Seeking Medical Monitoring Relief.

               1.      Arizona.

       The Arizona Supreme Court held in Quiroz v. ALCOA Inc., 416 P.3d 824 (Ariz. 2018), that

plaintiffs alleging nuisance and products liability claims must allege a manifest physical injury in

order to state a claim. Plaintiffs asserting a nuisance claim, however, can seek medical monitoring

relief without alleging a manifest physical injury. Id. Plaintiffs here do not allege a nuisance

claim, and their negligence and products liability claims fail to state a cause of action.

       In Burns v. Jaquays Min. Corp., 752 P.2d 28, 30 (Ariz. Ct. App. 1987), plaintiffs sought

medical monitoring damages without alleging a manifest physical injury and asserted causes of

action for negligence, strict liability, and nuisance. 752 P.2d at 30. Addressing the negligence and

strict liability claims, the Burns court refused “to depart from traditional tort concepts and allow

recovery for injuries before any disease becomes manifest,” noting that “[t]he statute of limitations

does not begin to run until there is a manifestation of physical injuries or disease.” Id. at 31; see

also Pounders v. Enserch E & C, Inc., 306 P.3d 9, 13 (Ariz. 2013) (holding that “[f]or long-latency

diseases . . . a legally compensable injury does not exist” until “the disease is discoverable”—i.e.,

“upon manifestation,” not subclinical change). On the other hand, the intermediate appellate court

held that nuisance claims for medical monitoring damages do not require plaintiffs to allege a

manifest physical injury to state a claim. Id. at 32.

       Thirty years later, the Arizona Supreme Court considered Burns and refined its holding.

There, the Court explained that Burns “held that the residents had no cognizable negligence claim

because the risk of future injuries was insufficient to prove the requisite element of ‘actual loss or

damage[s]’” and that “the medical costs associated with monitoring the residents’ subclinical


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injuries was recoverable in the context of a nuisance claim.” Quiroz, 416 P.3d at 832-33 (citing

Burns, 752 P.2d at 29, 32–34). The original R&R, therefore, correctly recognized that Burns—an

intermediate appellate court opinion—did not provide a basis to predict that Arizona would

abandon the present physical injury requirement, particularly after the Arizona Supreme Court’s

clarification of Burns in Quiroz. ECF No. 2273 (R&R) at 8 n.4.

       Plaintiffs have erroneously relied on Valsartan to advocate for the contrary conclusion, but

their reliance is misplaced. See Remand Op. at 16, n. 16; ECF No. 2314 (Pls. Objs.) at 10; ECF

No. 2314-3 at 4 (citing In re Valsartan, Losartan, & Irbesartan Prod. Liab. Litig.,

No. 19-2875, 2023 WL 1818922 *68 (D.N.J. Feb. 8, 2023)); ECF No. 2314-3 at 4 (reproducing

the relevant appendix from Valsartan at *68). Valsartan’s analysis of Arizona law is limited to a

lengthy quote from Burns that ignores both context and the Arizona Supreme Court’s subsequent

clarification in Quiroz, as explained above. ECF No. 2314-3 at 4.

       Plaintiffs also argue that Arizona would recognize a tort claim seeking medical monitoring

costs “without proof of present physical injury” because it either has adopted or would adopt “the

definition of injury and harm in [Restatement (Second) of Torts § 7 (1965)] and determine that

economic loss caused by the medical necessity of medical monitoring . . . is an invasion of a legally

protected interest” given prior reliance on the Restatement in other contexts. See Pls. Objs. Ex. B

(ECF No. 2314-2); see, e.g., id. at A-1–2. But Plaintiffs cite no “clear indication” that Arizona

would abandon the traditional manifest physical injury requirement. That Arizona may have relied

on other sections of the Restatement in other contexts falls far short of the kind of authority needed

to predict a substantive change to state law liability. City of Phila., 994 F.2d at 115, 126–27.

       Moreover, Plaintiffs’ reliance on Restatement (Second) section 7 is misplaced, even if the

jurisdiction has adopted or would adopt it. That section merely explains that “injury” is an




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“invasion of any legally protected interest,” while “harm” is the “detriment” caused by the invasion

for which damages may be awarded. Restatement (Second) § 7, comments a, b. To “maintain an

action of tort,” the plaintiff must establish an “injury.” Id. at comment a. Under the traditional

rule in all states, economic expectations are not a “legally protected interest” in tort—such

expectations are “legally protected” only by contract.

        The Restatement (Third) of Torts: Liability for Economic Harm (2020) provides additional

helpful guidance. Section 1 provides, “An actor has no general duty to avoid the unintentional

infliction of economic loss on another.” Section 7 of the Restatement 3d closes the loop, providing,

“Except as provided elsewhere in this Restatement, a claimant cannot recover for economic loss

caused by: (a) unintentional injury to another person; or (b) unintentional injury to property in

which the claimant has no proprietary interest.”

        The Restatement, therefore, does not support Plaintiffs’ argument; it contradicts it.

Restatement (Second) Section 7 provides no support for Plaintiffs’ position in any of the Disputed

Jurisdictions, and this is particularly true for Arizona, given Burns’s holding that “subclinical”

injury is not “the actual loss or damage to a plaintiff’s interest required to sustain a cause of action

under generally applicable principles of tort law.”        752 P.2d at 30 (quoting Schweitzer v.

Consolidated Rail Corp. (Conrail), 758 F.2d 936, 942 (3d Cir. 1985)).

                2.      Arkansas.

        Arkansas adheres to the traditional present physical injury requirement for tort claims. See

Dowty v. Riggs, 385 S.W. 3d 117, 120–23 (Ark. 2010) (reaffirming the physical injury

requirement, explaining the extremely high bar to abandoning it, and refusing to carve an exception

for emotional distress suffered by a bystander); see also Pennebaker v. Furry Feet Retreat, Inc.,

620 S.W. 3d 879, 881–82 (Ark. Ct. App. 2021) (recognizing Arkansas requires present physical

injury to state tort claim). Plaintiffs admit that Arkansas has not specifically addressed whether a


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tort claim for medical monitoring can be maintained “without proof of present physical injury,”

but argue that the Arkansas Supreme Court would allow such a claim based on the same

Restatement (Second) Section 7 argument discussed above. Pls. Objs. Ex. B (ECF No. 2314-2).

         To the extent Plaintiffs argue that Arkansas would deviate from the manifest physical

injury requirement for medical monitoring claims based on Baker v. Wyeth-Ayerst Lab’ys Div., a

Div. of Am. Home Prod. Corp., 992 S.W. 2d 797 (Ark. 1999), Plaintiffs are mistaken. See ECF

No. 2314-3 at 31. Baker does not address Arkansas’s adherence to the manifest physical injury

requirement, it holds that product liability claims—like those asserted here—raise numerous

predominance issues that preclude class certification. Baker’s silence fails to provide the “clear

indication” required for this Court to predict an expansion of liability.

               3.      Colorado.

       The District Court recognized that “the analysis of other federal court decisions predicting

state law must be somewhat nuanced.” Remand Op. at 15. Predictions based on what a state’s

law should be that are not grounded in state law precedent are not “sufficient to serve as the

requisite clear indication of state law.” Id. Nevertheless, Plaintiffs assert “Colorado would

recognize a claim for medical monitoring absent proof of physical injury” based on the district

court’s prediction in Cook v. Rockwell Int’l Corp., 755 F. Supp. 1468 (D. Colo. 1991) that was

followed in Bell v. 3M Co., 344 F. Supp. 3d 1207 (D. Colo. 2018). ECF No. 2314-2 at 10–11.

       The Colorado state courts of appeal have yet to address whether the state would permit a

medical monitoring claim without present physical injury. The district court’s prediction in Cook

that Colorado would carve an exception to the present physical injury requirement was made thirty

years ago, based on an assessment of policy and evolving law at that time. See Cook, 755 F. Supp.

at 1476–77. The court did not analyze Colorado law or recognize the obligation to make Erie

predictions against the expansion of liability. When the Bell district court revisited the issue, it


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recognized that Cook’s prediction of an independent Colorado medical monitoring claim rested on

Judge Babcock’s assessments of policy considerations and of the evolving law at that time. Bell,

344 F. Supp. 3d at 1216–17. The court further recognized that Colorado decisions, including

decisions subsequent to Cook, have refused to abandon the present physical injury requirement in

the context of emotional distress claims. Id. at 1217–18. In the end, the court concluded that both

sides provided plausible interpretations of Colorado law, calling it a “close call,” but that

“plaintiffs have the stronger argument,” particularly in light of “the same policy consideration that

swayed Judge Babcock” in Cook. Id. at 1224.

       This Court cannot rely on Cook and Bell to predict that Colorado would abandon the

present physical injury requirement. Cook contradicts Travelers and City of Philadelphia by

expanding state tort liability based solely on policy arguments and perceived, decades-old trends

in the law without analysis of Colorado law. Bell compounds this error, adopting Cook’s policy

arguments to justify a prediction that the court recognized was not supported by Colorado law or

the evolving law at that time in the majority of jurisdictions that had considered the issue, including

the U.S. Supreme Court in Metro-N. Commuter R. Co. v. Buckley, 521 U.S. 424, 440 (1997). Third

Circuit precedent does not allow this Court to “jump[] ahead” of Colorado law to expand tort

liability based on policy arguments and a split among courts outside of Colorado, and it does not

permit this Court to adopt predictions made by district courts that did so. See City of Phila., 994

F.2d at 125-26, nn.12, 13 (refusing to follow district court predictions from other states).

               4.      Connecticut.

       In Poce v. O & G Indus., Inc., an intermediate state appellate court held that Connecticut

tort law requires allegations of present physical injury as an element of liability, without which a

claim for medical monitoring costs cannot be stated. 269 A.3d 899, 908–10 (Conn. App. Ct. 2022)

(holding claims for medical monitoring require “the pleading and proof of some physical


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component of injury”). As an intermediate appellate ruling, Poce is “persuasive authority” and

“not to be disregarded.” Travelers, 594 F.3d at 244 (citation omitted).

       Nevertheless, Plaintiffs contend that Doe v. City of Stamford, 699 A.2d 52, 54 (Conn. 1997)

permits the recovery of medical testing and treatment expenses based on exposure to diseases

without present physical injury, a result that Martin v. Shell Oil Co., 180 F. Supp. 2d 313, 323 (D.

Conn. 2002) purportedly followed. Based on this, Plaintiffs argue that Connecticut would abandon

the manifest physical injury requirement.       Plaintiffs further assert that their “allegation of

subcellular injury is sufficient to satisfy [the] physical harm requirement.” Pls. Objs. Ex. B (ECF

No. 2314-2) at A-2–3 (citing Bowerman v. United Illuminating, 1998 WL 910271, at *5 (Conn.

Super. Ct. Dec. 15, 1998)).

       Plaintiffs are incorrect. The court in Stamford was not interpreting tort law, much less

extending it—the court was interpreting the Connecticut Workers Compensation Act, and its

holding is limited to the Act’s defined term “injury.” 699 A.2d at 54–57. The court expressly

distinguished this limited analysis from the U.S. Supreme Court’s analysis in Buckley, where the

Court was interpreting FELA, a “statute that is closely tied to traditional tort principles,” and held

those principles do not recognize medical monitoring costs to constitute actionable injury.

Stamford, 699 A.2d at 57, n.11. Martin declined to extend Stamford beyond workers compensation

cases as it was unnecessary given the plaintiff’s representation that he was not asserting that

medical monitoring could be awarded without actual injury. 180 F. Supp. 2d at 323.

       Plaintiffs’ assertion that subcellular injury constitutes manifest physical injury in

Connecticut is without foundation. Bowerman, an unpublished trial court decision, did not hold

that subcellular or other physiological changes constitute actionable injury. The opposite. It held

that “asymptomatic scarring of lung tissue and the implantation of fibers in the lungs due to




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asbestos exposure did not constitute detrimental physical harm that was actionable.” Poce v. O &

G Indus., Inc., 269 A.3d at 909 (discussing Bowerman and Goodall v. United Illuminating,

Superior Court, judicial district of New London, Docket No. X04-CV-XX-XXXXXXX-S, 1998 WL

914274 (December 15, 1998)). Indeed, Bowerman held that “scarring of the lung tissue” and

asbestos implantation in the lungs could constitute actionable injury only if presently detrimental

to plaintiffs. Bowerman, 1998 WL 910271, at *5. Almost twenty years later, another Superior

Court held that subclinical physiological changes are not actionable injuries until they manifest

into symptoms of an actual disease or illness.          Dougan v. Sikorsky Aircraft Corp., No.

X03HHDCV126033069S, 2017 WL 7806431, at *4 (Conn. Super. Mar. 28, 2017).

       To the extent Plaintiffs contend that Dougan v. Sikorsky Aircraft Corp., 251 A.3d 583

(Conn. 2020) supports their position (ECF No. 2314-3 at 33), they are wrong. There, the court

merely “assume[d], without deciding that Connecticut law recognizes a claim for subclinical

cellular injury that substantially increased the plaintiffs’ risk of cancer and other asbestos related

diseases” and then further “assume[ed] without deciding, that the Donovan elements govern proof

of a medical monitoring claim.” Id.at 593–94. The court did so to demonstrate that the plaintiffs’

claims would fail to meet even that permissible standard. Id. at 594. Dougan does not provide a

clear indication that the Connecticut Supreme Court would deviate from the manifest physical

injury requirement, and the District Court cannot jump ahead of that court to predict it would do

so here. See City of Phila., 994 F.2d at 125, n.12.

               5.      Georgia.

       “To recover for personal injuries under Georgia law, a plaintiff must show that he has

suffered ‘injury to life or limb or damage to other property.’” Parker v. Wellman, 230 F. App’x

878, 881 (11th Cir. 2007) (quoting Pickren v. Pickren, 593 S.E. 2d 387, 388 (Ga. Ct. App. 2004)).

This requirement extends to toxic exposure claims, and requires evidence of “actual disease, pain


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or impairment of some kind.” Id. at 882 (quoting Boyd v. Orkin Exterminating Co., 381 S.E. 2d

295, 298 (Ga. Ct. App. 1989)). Allegations of “subclinical and cellular damage” from exposure

do not constitute physical injury until they manifest in “an identifiable physical disease, illness, or

impairing symptoms.”       Id.   Because the plaintiffs made no such allegations of manifest

impairment, the court held that the district court correctly dismissed the claim for medical

monitoring. Id. at 883. Plaintiffs provide no basis from which to depart from Parker’s thorough

analysis of Georgia law.

               6.      Hawaii.

       Hawaii’s highest court has not directly addressed claims for medical monitoring costs

absent allegations of present physical injury. Plaintiffs have identified no authority from any trial

court or intermediate appellate court that would permit this Court to predict the state would

abandon the present physical injury requirement. In the only relevant opinion, the federal district

court in In re Hawaii Fed. Asbestos Cases, concluded that Hawaii requires plaintiffs to allege a

present physical injury to state a tort cause of action, and that this pleading requirement is not

satisfied by allegations of “sub-clinical conditions” that are “unaccompanied by an objectively

verifiable functional impairment.” 734 F. Supp. 1563, 1567 (D. Haw. 1990). As no basis in state

law exists to predict that Hawaii would deviate from the traditional manifest physical injury rule,

Plaintiffs’ negligence and products liability claims should be dismissed.

               7.      Idaho.

       In Idaho, “there is no tort until there is an injury” that is “objectively ascertainable,” which

means “objective medical proof would support the existence of an actual injury.” Davis v. Moran,

735 P.2d 1014, 1019–20 & n.4 (Idaho 1987). Nevertheless, Plaintiffs argue that Idaho would adopt

Plaintiffs’ “economic loss” argument to permit a tort claim seeking future medical monitoring

expenses without present physical injury. Pls. Objs. (ECF No. 2314) at 11 (citing Davis, 735 P.2d


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at 1019–20 & n.4 and Hepburn v. Bos. Sci. Corp., No. 3:17-CV-00530-DCN, 2018 WL 2275219,

at *5 (D. Idaho May 17, 2018)). Plaintiffs’ argument is unsupported.

       First, Davis rejected Plaintiffs’ assertion that “the economic loss” of medical monitoring

costs satisfies the injury requirement in Idaho. There, the Idaho Supreme Court held that the claim

did not accrue upon exposure or even when a physician recommended testing in June 1983; rather,

the claim became actionable only when there was an objectively diagnosable injury (e.g., “spinal

damage”). Id. at 1016, 1020 n.4. Second, Hepburn, addressed Article III injury-in-fact standing,

not Idaho’s manifest physical injury requirement. Id. at *3–5. Moreover, Hepburn alleged

physical injury: “constant pains in the abdominal region.” Id. at *1.

               8.      Illinois.

       Claims for medical monitoring require allegations of a manifest physical injury in Illinois.

Berry v. City of Chicago, 181 N.E. 3d 679, 688-89 (Ill. 2020) (holding claims for medical

monitoring require proof of present physical injury, not just a risk of future disease). Plaintiffs,

however, insist that Illinois would abandon the manifest physical injury requirement to allow a

claim for medical monitoring costs to proceed based solely on economic loss (i.e., the future costs

of medical monitoring procedures). Pls. Objs. (ECF No. 2314) at 11–12 (citing Lewis v. Lead

Indus. Ass’n, Inc., 793 N.E. 2d 869 (Ill. App. Ct. 2003)). Not so.

       Contrary to Plaintiffs’ description (Pls. Objs. at 12), the plaintiffs in Berry alleged actual

exposure to lead, allegations substantiated by water testing and blood samples. 181 N.E. 3d at

683–84. Nevertheless, the Illinois Supreme Court held that the plaintiffs failed to state a claim

because none alleged “any physical impairment, dysfunction, or physically disabling

consequence” from the exposure. Id. at 687. Without “actual or realized harm,” the claim devolves

into one seeking compensation for the “increased risk of future harm” and risks clogging the “court

dockets . . . with comparatively unimportant or trivial claims.” Id. at 688. The Illinois Supreme


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Court rejected the plaintiffs’ contention “that the need for medical testing or monitoring” itself is

a cognizable injury because it “is simply another way of saying [plaintiffs] have been subjected to

an increased risk of harm,” which is not an injury. Id. at 688–89.

        The R&R correctly recognized that dicta regarding risk of harm constituting injury from

an intermediate appellate court decision that predates Berry, Lewis v. Lead Industries Ass’n, Inc.,

793 N.E. 2d 869 (Ill. App. Ct. 2003), is insufficient to support a determination that the Illinois

Supreme Court would deviate from the manifest physical injury requirement reaffirmed in Berry.

R&R (ECF No. 2273) at 8 n.6. Additionally, Lewis was reversed by the Illinois Supreme Court in

Lewis v. Lead Indus. Ass’n, 178 N.E. 3d 1046, 1049 (Ill. 2020), and Plaintiffs do not identify any

portion of that opinion that would support a prediction that contradicts Berry.

                9.      Indiana.

        In Holiday v. Atl. Richfield Co., No. 2:16-cv-525, 2022 WL 4463342, at *4–7 (N.D. Ind.

Sept. 23, 2022), the district court determined that Indiana law does not permit the recovery of

medical monitoring costs without present physical injury. Holiday recognizes that Indiana tort

law requires a “compensable injury” as an element of liability. 2022 WL 4463342, at *4 (quoting

Ryan v. TCI Architects/Engineers/Contractors, Inc., 72 N.E. 3d 908, 913 (Ind. 2017)). Under

Indiana law, “a cause of action accrues only when a current diagnosable illness develops”—not

when “exposure results in physical change, or so called ‘subclinical injury.’”               Id. (citing

AlliedSignal, Inc. v. Ott, 785 N.E. 2d 1068, 1075 (Ind. 2003)). The district court correctly

recognized this to be “a strong indicator of the Indiana Supreme Court’s view of the requirement

of present physical injury in a tort case” and rejected the plaintiffs’ call for a prediction to expand

tort liability by recognizing risk of injury to constitute physical injury itself. Id. at *4–5.

        Plaintiffs nevertheless assert that Indiana would abandon the manifest physical injury

requirement to allow a claim for medical monitoring costs to proceed based solely on economic


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loss (i.e., the future costs of medical monitoring procedures). Plaintiffs base this assertion on the

prediction in In re Zantac (Ranitidine) Products Liability Litigation, 546 F. Supp. 3d 1152, 1166

(S.D. Fla. 2021) “that the Indiana Supreme Court would recognize medical monitoring as a form

of damages for negligence claims.” ECF No. 2314-1 at A-7.

       The Zantac court did not have the benefit of the Holiday court’s analysis, and the decision

fails to discuss the important Indiana precedent analyzed in Holiday, including AlliedSignal.

Zantac instead relies on Gray v. Westinghouse Electric Corp., 624 N.E. 2d 49, 54 (Ind. Ct. App.

1993) and Allgood v. General Motors Corp., No. 102CV1077DFHTAB, 2005 WL 2218371, at *7

(S.D. Ind. Sept. 12, 2005) to conclude that Indiana tort law, particularly negligence, does not

require a present physical injury to recover medical monitoring costs. 546 F. Supp. 3d at 1166-

67. Allgood relies entirely on Gray to predict medical monitoring costs are recoverable through a

nuisance claim without present physical injury. 2005 WL 2218371, at *8. Gray held that this is

because nuisance claims are unique in that they arise from a statute that does not require “physical

damage to person or property.” 624 N.E. 2d at 54. Plaintiffs do not assert a nuisance claim here,

and neither decision supports their argument, let alone provides the “clear indication” necessary

for the District Court to predict an expansion of Indiana tort liability.

               10.     Iowa.

       The Iowa Supreme Court has given no indication that it would permit plaintiffs to seek

medical monitoring relief without alleging a manifest physical injury. In Pickrell v. Sorin Group

USA, Inc., 293 F. Supp. 3d 865, 868 (S.D. Iowa 2018), the court considered an asymptomatic

plaintiff’s exposure claims caused by an alleged defect in a blood temperature regulating machine,

seeking medical monitoring costs. Pickrell recognized that claims sounding in negligence require

actual injury in Iowa. Pickrell, 293 F. Supp. 3d at 868 (citing Vossoughi v. Polaschek, 859 N.W.

2d 643, 649–50 (Iowa 2015)); Niblo v. Parr Mfg., Inc., 445 N.W. 2d 351, 354 (Iowa 1989). Mere


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exposure creating a need for medical testing does not establish a “compensable injury.” Slaymaker

v. Archer-Daniels-Midland Co., 540 N.W. 2d 459, 460–61 (Iowa Ct. App. 1995) (persons exposed

to asbestos necessitating testing that revealed no “significant damage” did not suffer physical

injury). Pickrell, therefore, correctly predicted that the Iowa Supreme Court would not permit a

claim for medical monitoring costs absent physical injury. 293 F. Supp. 3d at 868.

       Plaintiffs fail to identify any basis to depart from Pickrell and its well-founded analysis—

let alone sufficient justification to “jum[p] ahead” of Iowa law to predict an expansion of tort

liability. City of Phila., 994 F.2d at 125–26, n.12.

               11.     Kansas.

       Kansas’s courts have not addressed whether medical monitoring costs may be recovered

absent present physical injury. They have, however, long held that claims for damages caused by

the risk of future injury must have arisen from a physical injury. Reynolds v. Highland Manor,

Inc., 954 P.2d 11, 13 (Kan. Ct. App. 1998) (applying rule in the context of a claim for emotional

damages). Plaintiffs’ attempt to distinguish this decision on the facts misses the point. Pls. Objs.

(ECF No. 2314) at 13, n.15. The Court here must opt for the conservative interpretation of state

law that does not expand liability. Reynolds helps the court in fulfilling that burden by showing

how a Kansas intermediate appellate court approached a related issue.

       To the extent Plaintiffs assert that Burton v. R.J. Reynolds Tobacco Co., 884 F. Supp. 1515

(D. Kan. 1995), interpreted Kansas law as carving an exception to this rule for medical monitoring

damages, they are wrong. Pls. Objs. (ECF No. 2314) at 12–13. Burton held that medical

monitoring costs were recoverable as a component of damages only if the plaintiff proves the

elements of liability, including physical injury. Burton, 884 F. Supp. at 1523; see also Duncan v.

Nw. Airlines, Inc., 203 F.R.D. 601, 607–08 (W.D. Wash. 2001) (recognizing this to be Burton’s

holding); Witherspoon v. Philip Morris Inc., 964 F. Supp. 455, 467 (D.D.C. 1997) (same). Where


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Kansas has permitted the recovery of medical monitoring costs, it does so only where those costs

“arose from an existing injury,” as in Cott. Burton, 884 F. Supp. at 1523, n.6 (citing Cott v.

Peppermint Twist Mgmt. Co., 856 P.2d 906 (Kan. 1993)).

                12.     Maine.

        In Higgins v. Huhtamaki, Inc., No. 1:21-cv-00369, 2022 WL 2274876, at *10 (D. Me. June

23, 2022), the court held that in Maine “[t]here is generally no cause of action in tort until a plaintiff

has suffered an identifiable, compensable injury.” Id. (quoting Bernier v. Raymark Indus., Inc.,

516 A.2d 534, 542 (Me. 1986)). “So, a plaintiff who is exposed to an environmental toxin does

not have a judicially recognizable claim ‘until there has been a manifestation of physical injury . .

. sufficient to cause him actual loss, damage or suffering.’” Id.

        Plaintiffs’ attempt to distinguish and minimize Higgins misrepresents the decision and its

thorough review of Maine law in the context of exposure-related tort claims. Pls. Objs. Ex. B at

A-8–9. First, Higgins considered both a stand-alone medical monitoring claim and medical

monitoring costs as a remedy. 2022 WL 2274876, at *10–11. Second, Higgins recognized that

the Maine Supreme Court unequivocally held in Bernier that the plaintiffs had to prove identifiable

injury—mere microscopic injury from inhalation is insufficient. Id. at *11 (quoting Bernier, 516

A.2d at 543). Higgins, therefore, rejected any assertion that alleged exposure and need for medical

monitoring constitute “compensable injury” under Maine law. Third, applicability of Bernier’s

holding is not limited to issues of accrual of claims under 14 Maine Revised Statutes Annotated

Section 221. Rather, the issue required the court to examine Maine tort law generally, and the

court held: (1) a tort cause of action requires “identifiable, compensable injury”; (2) threat of

unrealized future harm “is not enough”; (3) the actionable harm in a latent exposure case is “the

manifestation of disease in the body”; and (4) “subclinical injury” is not actionable harm. Bernier,

516 A.2d at 542-43.


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       Plaintiffs offer no basis from which to conclude that Higgins’s analysis of Maine law is

wrong, let alone grounds that would permit this Court to expand Maine tort liability by predicting

it would abandon the physical injury requirement here.

               13.    Minnesota.

       The Minnesota Supreme Court has given no indication that it would permit plaintiffs to

state a claim for medical monitoring damages absent allegations of a manifest physical injury. In

Minnesota, “damage is an essential element of a negligence cause of action” that is not satisfied

by allegations of a mere “threat of future harm.” Reliance Ins. Co. v. Arneson, 322 N.W. 2d 604,

607 (Minn. 1982). Accordingly, “Minnesota does not recognize” torts based on “a claim of

increased risk of cancer.” Woyke v. Tonka Corp., 420 N.W. 2d 624, 625–26 (Minn. Ct. App.

1988). Consistent Minnesota precedents are thus inconsistent with any prediction that the

Minnesota Supreme Court would abandon the manifest physical injury requirement.

       Plaintiffs focus on Bryson v. Pillsbury Co., 573 N.W. 2d 718, 721 (Minn. Ct. App. 1998),

an intermediate appellate court decision that they claim shows that Minnesota permits claims for

medical monitoring without proof of present physical injury. Pls. Objs. (ECF No. 2314) at 14.

Plaintiffs misstate Bryson’s holding. In fact, Bryson held that claims seeking medical monitoring

require allegations of a “present injury.” 573 N.W. 2d at 720–21.

       The question in Bryson was whether alleged “chromosome damage” constitutes an

allegation of a “real and present physical and biologic injury,” which in that case presented a

question of fact as to whether the alleged damage resulted in any present detrimental physical

impact. Id. at 721. Bryson did not hold that “latent” subcellular or other physiological change—

which is what Plaintiffs allege here (MMSAC ¶ 384)—meets this requirement.              Plaintiffs

accordingly plead only a threat of future harm, which is not a present physical injury under

Minnesota law and fails to state a claim.


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                14.     Montana.

        Montana requires present physical injury to state a tort cause of action and holds that

exposure alone is insufficient to satisfy the element. See Schelske v. Creative Nail Design, Inc.,

933 P.2d 799, 803–04 (Mont. 1997) (explaining physical harm is an element of exposure claims

arising from alleged product defect and requiring Plaintiff to identify specific injuries/illnesses

caused by alleged toxic exposure). The Montana Supreme Court has given no indication that it

would deviate from the manifest physical injury requirement to permit no-injury medical

monitoring claims.

        Plaintiffs nevertheless argue that Lamping v Am. Home Prods., No. DV-97-85786, 2000

WL 35751402 (Mont. Dist. Ct. Feb. 2, 2000) provides sufficient basis to predict that Montana

would abandon that requirement here to create an independent medical monitoring cause of action.

Pls. Objs. (ECF No. 2314) at 13. Lamping is an unpublished, trial-level decision, that was

expressly limited to its facts, and has never been cited in any other Montana case. Lamping

provides no basis to predict that the Montana Supreme Court would enact a dramatic change to

state tort law. City of Phila., 994 F.2d at 125 (holding a lone trial court decision “is insufficient”).

        Plaintiffs also contend that Lindsay Drilling & Contracting v. U.S. Fidelity & Guaranty

Co., 676 P.2d 203, 206 (Mont. 1984) supports the conclusion that the term “injury” does not

necessarily contemplate harm, but rather may be “a physical change or alteration which is either

beneficial, detrimental or of no consequence.” Pls. Objs. Ex. B (ECF No. 2314-2) at A-10. This

argument ignores the fact that in Lindsay Drilling the Montana Supreme Court was not analyzing

the elements of a tort claim but instead was interpreting an insurance policy’s use of the term

“injury.” 676 P.2d 203, 205–06. And even there, the court held that the insurance policy required

loss or detriment—i.e., “harm”—not mere “physical change or alteration.” Id. at 205.




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               15.    Nebraska.

       While Nebraska courts have yet to address medical monitoring, it is well settled that

Nebraska adheres to the manifest physical injury requirement for negligence claims. Avila v. CNH

Am. LLC, No. 4:04-cv-03384, 2007 WL 2688613, at *1 (D. Neb. Sept. 10, 2007) (“damages are

an essential element” under Nebraska law and relief cannot be provided absent “present physical

injury”). As explained in Ward v. City of Alliance, 417 N.W. 2d 327 (Neb. 1988), toxic exposure

claims accrue only after the injury “manifest[s]” itself. Id. at 328, 330. Accordingly, and given

the obligation not to expand state tort law in making Erie predictions, this Court should predict

that Nebraska would require present physical injury to state a claim for medical monitoring costs.

See, e.g., Trimble v. Asarco, Inc., 232 F.3d 946, 962–63 (8th Cir. 2000) (holding Nebraska law has

not recognized a cause of action for medical monitoring absent “present physical injury” and

declining to expand substantive liability under Nebraska law to do so) abrogated on other grounds

by Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546 (2005). Plaintiffs identify no basis

for concluding otherwise.

               16.    New Mexico.

       The New Mexico Supreme Court has given no indication that it would deviate from the

manifest physical injury requirement to permit no-injury claims for medical monitoring. Sanchez

v. Clayton, 877 P.2d 567, 573 (N.M. 1994) (“[L]iability does not attach to negligent acts that do

not result in actual harm or damage.”) Nevertheless, Plaintiffs urge the Court to predict that New

Mexico would do so because the costs they allege for “diagnostic testing for the early detection of

disease” are an actionable harm. Pls. Objs. Ex. B (ECF No. 2314-2) at A-12. Plaintiffs contend

that their position is supported by Lovelace Medical Center v. Mendez, 805 P.2d 603, 609–10

(N.M. 1991), which they claim recognized that “harm includes detriment to pecuniary advantage

and that economic loss [w]as recoverable injury for tort.” Pls. Objs. Ex. B (ECF No. 2314-2) at


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A-12. But Lovelace addresses a unique medical malpractice situation and has nothing to do with

the facts alleged here. It is not authority that would support a prediction that New Mexico would

abandon the manifest physical injury requirement here.

       Furthermore, New Mexico has adopted the RESTATEMENT (THIRD) OF TORTS: LIABILITY

FOR ECONOMIC HARM § 1, which establishes that there is generally no duty “to avoid the

unintentional infliction of economic loss.” Nat. Roofing, Inc. v. Alstate Steel, Inc., 366 P.3d 276,

278 (N.M. Ct. App. 2015). Section 3 of the same Restatement recognizes an exception to this rule

for medical malpractice actions, where there are inherent limits to the liability imposed and there

is an information imbalance. See RESTATEMENT (THIRD) OF TORTS: LIABILITY FOR ECONOMIC

HARM § 1 comment d. Lovelace falls into this unique exception and has been so limited. See

Provencio v. Wenrich, 261 P.3d 1089, 1096–97 (N.M. 2011) (limiting Mendez to when a doctor

botches a sterilization, does not disclose the failure, and the patient has a child causing parents to

incur economic loss from raising the child).

       Here, Plaintiffs are not alleging professional negligence. Rather, they allege exposure

“which may, in the future lead to an injury,” for which they seek compensation—specifically, the

costs of lifelong testing to assuage those fears, an economic loss. In Alberts v. Schultz, the New

Mexico Supreme Court disapproved of such claims, indicating they are not cognizable in the

absence of physical injury. 975 P.2d 1279, 1285 (N.M. 1999).

               17.     New York.

       Plaintiffs acknowledge that New York requires “the physical manifestation of or clinically

demonstrable presence of toxins in the plaintiff’s body” to state a claim to recover future medical

monitoring expenses. Pls. Objs. (ECF No. 2314) at 14–15; Benoit v. Saint-Gobain Performance

Plastics Corp., 959 F.3d 491, 501–02 (2d Cir. 2020) (interpreting New York law as expressly

requiring “physical injury” to state a personal injury claim, including a claim for the “costs of


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medical monitoring”); Caronia v. Philip Morris USA, Inc., 5 N.E. 3d 11, 16–17 (N.Y. 2013)

(holding New York would not permit a claim where the “only ‘injury’ is the ‘financial burden

associated with periodic medical monitoring’”).

       Plaintiffs argue that their assertions of “subcellular or other physiological change” are

sufficient. Pls. Objs. (ECF No. 2314) at 14–15. Caronia rejected this argument. 5 N.E. 3d 11,

17–18. The question, therefore, is whether Plaintiffs have plausibly alleged that each of them has

a clinically demonstrable presence of toxins in their body or a physical manifestation of toxin

contamination. The Benoit plaintiffs met this standard by alleging blood test results. 959 F.3d at

501–02. Plaintiffs here identify no such allegation in the MMSAC, which contains no Plaintiff-

specific allegations of injury.

               18.     Ohio.

       The District Court recognized that “the analysis of other federal court decisions predicting

state law must be somewhat nuanced.” Remand Op. at 15. Nevertheless, Plaintiffs urge the Court

to predict Ohio would abandon the present physical injury requirement for a medical monitoring

claim based on the federal district court’s prediction in Day v. NLO, 851 F. Supp. 869, 879–82

(S.D. Ohio 1994). Pls. Objs. (ECF No. 2314) at 13. As the District Court explained in the Remand

Opinion, it cannot predict an expansion of state tort liability based on a prediction made by a

federal district court that is not grounded in state law and defies the obligation to make conservative

Erie predictions against expanding state tort liability. Remand Op. at 15. Day falls into this camp

and should not be followed.

       In Day, the federal district court recognized: (1) asymptomatic claims for future medical

monitoring costs seek to recover based “on the chance that an injury has been sustained”; and (2)

Ohio does not allow claims based on the “risk of disease” as opposed to a present injury. 851 F.

Supp. at 879. Nevertheless, the district court declared: “if the Plaintiffs can establish liability and


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an increased risk of disease, they will be entitled to medical monitoring.” Id. at 881. While it is

not clear whether the district court was making an Erie prediction or simply believed it was entitled

to create state law, the court predicated this expansion of tort liability on (1) decisions in other

courts (D.C., Utah, and California) and (2) a belief that it was in the interest of public policy. Id.

at 880–81. What is clear is that Day’s declaration was not supported by any Ohio precedent. It

was in spite of it, admittedly. Day’s prediction thus provides no basis upon which to predict an

expansion of Ohio tort liability.

       As explained in Riston v. Butler, 777 N.E. 2d 857, 866 (Ohio Ct. App. 2002), Ohio courts

have not addressed whether Ohio law permits claims for medical monitoring arising solely from

exposure without present physical injury. Plaintiffs do not dispute Riston’s assessment that

permitting such a claim would require “a change in Ohio law.” Id. Indeed, Plaintiffs admit that

Ohio does not permit recovery of economic losses if such losses do not arise from “tangible

physical injury to persons” or property under Queen City Terminals, Inc. v. Gen. Am. Transp.

Corp., 653 N.E. 2d 661, 667 (Ohio 1995). Pls. Objs. Ex. B (ECF No. 2314-2) at A-14. And they

admit that the future costs of the medical monitoring sought here are “economic losses.” Id.

       Plaintiffs instead argue that the need to incur those costs is caused by “damage to Plaintiffs’

property, their Devices.” Id. Plaintiffs offer no clarification on the nature of this “damage” or its

purported causal connection to the alleged need to incur medical monitoring costs. Nor is any

connection apparent, given the lack of Plaintiff-specific allegations of device damage, let alone

Plaintiff-specific allegations of physical injury, causing any need for medical treatment, including

any medical testing.

       In sum, Plaintiffs’ claims based solely on the risk of past exposure allegedly increasing the

risk of future disease and the need for medical testing are not cognizable under Ohio law, and there




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is no “clear indication” that the Ohio Supreme Court would expand liability for such claims.

               19.     Oklahoma.

       In Reece v. AES Corp., the Tenth Circuit reviewed Oklahoma law and held that Oklahoma

adheres to the manifest physical injury requirement. 638 F. App’x. 755, 775–76 (10th Cir. 2016).

Reece then rejected arguments (1) that concern about future risk constitute cognizable injury and

(2) that the formulaic listing of conditions consistent with exposure sufficed to plausibly allege

cognizable physical injury. Id. at 776–78. Similarly, in McCormick v. Halliburton Co., 895 F.

Supp. 2d 1152, 1157–59 (W.D. Okla. 2012), the court recognized the injury requirement and

rejected the plaintiffs’ argument that it was satisfied by future “monetary losses” from medical

monitoring costs, explaining that the plaintiffs were conflating “injury” with “damages.” See also

Taylor v. Michelin North America, Inc., No. 14-CV-293, 2018 WL 1569495, at *6 (N.D. Okla.

Mar. 30, 2018) (medical monitoring claim dismissed where “plaintiffs have not yet presented

evidence of physical injuries attributable to contaminants”). Plaintiffs provide no basis from which

the District Court could depart from these decisions to predict that Oklahoma would abandon the

manifest physical injury requirement here.

               20.     Oregon.

       In Lowe v. Philip Morris USA, Inc., the plaintiff, who did not allege “present physical

harm,” asserted negligence claims based on allegations that the manufacture and sale of cigarettes

caused her to have a “significantly increased risk” of cancer and, as a result, “it was ‘reasonable

and necessary’ for her to undergo ‘periodic medical screening.’” 183 P.3d 181, 182–83 (Or. 2008).

The Oregon Supreme Court affirmed the dismissal of the complaint because Oregon requires

manifest physical injury. In reaching this decision, the court expressly rejected arguments that a

viable claim could be based on: (1) the significantly increased risk of cancer itself; or (2) “the

economic cost” of medical monitoring. Id. at 184.


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       “[A] plaintiff must suffer harm ‘to an interest of a kind the law protects against negligent

invasion’” to state a claim. Id. The mere threat of physical harm is insufficient to constitute an

actionable injury. See id. The threat only becomes actionable when it manifests into “present

physical harm.” See id. at 185. The court also held Plaintiffs’ second argument contradicted

Oregon law because the costs of medical monitoring are economic losses that are not actionable

absent a special duty or physical injury to person or property. See id. at 186.

       Justice Walters’s concurrence agreed that the claim failed because there was no alleged

“present physical harm.” Id. at 187. She then clarified that physical harm should include

“detectable physical effects” from negligent exposure to a harmful substance.            Id. at 188.

Nevertheless, she concurred in the result: simply alleging the exposure that comes with smoking a

pack every day for five years does not establish the necessary physical harm to state a claim.

       Accordingly, Lowe forecloses any assertion that the economic loss of future medical

monitoring costs or mere physiological change that has yet to manifest in physical harm constitute

actionable injury for the negligence or products liability claims Plaintiffs assert under Oregon law.

               21.     Puerto Rico.

       Plaintiffs do not dispute that Puerto Rican tort law requires proof of actual damages to state

a viable claim. Pls. Objs. Ex. B at A-15–16. Instead, they argue that Puerto Rico would adopt

Restatement (Second) of Torts Section 7 and because of this, would hold the “economic loss” of

the alleged future need to incur medical monitoring costs satisfies the actual damage requirement.

Id. Section 7, however, merely defines injury to constitute the invasion of a “legally protected

interest,” and there is “no general duty to avoid the unintentional infliction of economic loss on

another.” RESTATEMENT (THIRD) OF TORTS: LIABILITY FOR ECONOMIC HARM § 1; Isla Nena Air

Servs., Inc. v. Cessna Aircraft Co., 449 F.3d 85, 90–92 (1st Cir. 2006) (predicting Puerto Rico

would require injury to person or property to state a products liability claim). Plaintiffs do not


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identify any authority that would permit this Court to predict Puerto Rico would expand liability

to permit claims premised on the risk of exposure that may increase the risk of a future disease

and/or the future incurrence of the economic loss of medical monitoring costs. Nor do they provide

any basis from which to conclude that allegations of subcellular or other physiological change

constitute actionable damage under Puerto Rico law.

                22.     Rhode Island.

        In Rhode Island, “the possibility of contracting cancer resulting from mere exposure to a

carcinogen, although potentially increasing one’s risk of developing cancer, is too tenuous to be a

viable cause of action.” Kelley v. Cowesett Hills Assocs., 768 A.2d 425, 430 (R.I. 2001). Thus,

“in the absence of physical manifestation” (i.e., “symptomatology”), a plaintiff cannot “establish

a prima facie case of negligence as a matter of law.” Id. at 430, 431. Plaintiffs’ attempt to

characterize Kelley’s holding as being limited to claims for emotional distress ignores the plain

language of the holding. The Rhode Island Superior Court recognized this in Miranda v. Dacruz,

No. PC04-2210, 2009 WL 3515196, at *7–8 (R.I. Super. Ct. Oct. 26, 2009), holding an

asymptomatic plaintiff cannot assert a claim for medical monitoring costs under Kelley.

        Plaintiffs cite no authority that would permit this Court to predict that Rhode Island’s

highest court would reverse course from Kelley and permit claims for medical monitoring absent

allegations of a physical manifestation of disease or illness. Kelley plainly rejected the argument

that freedom from exposure to harmful substances is a legally protected interest. Further, the

RESTATEMENT (THIRD) OF TORTS: LIABILITY FOR ECONOMIC HARM § 1 and Miranda support the

conclusion that freedom from economic loss, including costs associated with medical monitoring,

is not a legally protected interest, and Plaintiffs cite no case to the contrary. In the lone substantive

decision Plaintiffs reference, Emerson v. Magendantz, 689 A.2d 409, 413–14 (R.I. 1997), the

plaintiff did suffer physical harm, including the pains of delivery and an “additional invasive


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medical treatment,” and the court rejected recovery of economic losses, namely the costs of rearing

the child to adulthood, as a viable independent basis for a claim. Plaintiffs’ assertions to the

contrary are unsupported and mistaken. Pls. Objs. Ex. B (ECF No. 2314-2) at A-16.

               23.     South Carolina.

       The South Carolina Supreme Court has given no indication that it would depart from the

traditional manifest physical injury requirement. In the only on-point case, a federal district court

predicted that South Carolina would not permit a stand-alone medical monitoring claim, and that

medical monitoring costs would potentially be recoverable only if liability were established under

another tort claim. Rosmer v. Pfizer, Inc., No. CIV.A. 9:99-228018RB, 2001 WL 34010613, at *5

(D.S.C. Mar. 30, 2001). Plaintiffs identify no other authority considering South Carolina law that

reaches a different conclusion or provides a basis to predict that South Carolina’s highest court

would disagree and enact a dramatic change to existing tort law.

       Moreover, it is well established in South Carolina that where, as here, a plaintiff asserts

liability arising from an alleged product defect, South Carolina law provides no remedy absent

“physical harm to person or property” other than the product. Sapp v. Ford Motor Co., 687 S.E.

2d 47, 49–50 (S.C. 2009); S.C. Code Ann. § 15-73-10 (product defect damages are limited to

“physical harm”). Plaintiffs here allege they “have suffered property damage” but do not identify

damage to property other than their devices. ECF No. 2314-2 at A-16. Nor have Plaintiffs

identified any basis from which to find that their conclusory allegations of “latent” subcellular or

other physiological change satisfy South Carolina’s “physical harm” requirement. To the extent

Plaintiffs argue that this requirement does not apply to products posing serious risk of physical

harm, Pls. Objs. Ex. B (ECF No. 2314-2) at A-16, Sapp held that this exception applies only to

residential houses. Sapp, 687 S.E. 2d at 50.




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               24.     Tennessee.

       The R&R recommended denying the motion to dismiss claims for medical monitoring

under Tennessee law based upon the conclusion that Tennessee does not require Plaintiffs to allege

present physical injury to state a claim for medical monitoring.           R&R at 9 n. 11.       This

recommendation is premised on a misreading of Sutton v. St. Jude Med. S.C., Inc., 419 F.3d 568,

575 (6th Cir. 2005) and on remand should be revisited.

       In Tennessee, “cognizable damage” is necessary for a claim, and where the claim arises

from the risk of future injury, “there must be a reasonable degree of medical certainty that the

plaintiff will develop a disease in the future as a result of the injury.” Potts v. Celotex Corp., 796

S.W. 2d 678, 681 (Tenn. 1990). Consequently, a claim arising from a latent disease caused by

toxin exposure does not exist “until that condition [is] diagnosed, or reasonably could [be]

diagnosed.” Id. at 684. Reviewing and applying Tennessee precedent, Jones v. Brush Wellman,

Inc., No. 1:00 CV 0777, 2000 WL 33727733, at *8 (N.D. Ohio, Sept. 13, 2000) held that Tennessee

requires “present injury or loss to maintain an action” to recover the costs of “testing for the

development of a possible future injury.” 2000 WL 33727733, at *8.

       Sutton did not hold otherwise. Rather, the court held that an increased risk of future harm

suffices for Article III standing. The court expressly declined to reach the issue of whether

Tennessee would allow a claim for medical monitoring without manifested physical injury. Sutton,

419 F.3d at 575–76. Neither Sutton’s dicta discussion of Tennessee’s “murky” law in footnote 7

nor the cases it cites in that footnote provide sufficient grounds for this Court to make an Erie

prediction that would expand liability to permit recovery without present physical injury. 419 F.3d

at 576, n.7 (citing Laxton v. Orkin Exterminating Co., Inc., 639 S.W. 2d 431 (Tenn. 1982) and

Newsom v. Markus, 588 S.W. 2d 883, 887 (Tenn. App. 1979)).

       First, Sutton did not address Potts, which as shown above is critical to the analysis of


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relevant Tennessee law. Second, neither Newsom nor Laxton held that a plaintiff could recover

the costs of a lifetime of future medical monitoring based solely on the risk of exposure to a

possible carcinogen without any present injury. Newsom is a car accident case in which the

plaintiff was not only injured but “totally temporarily disabled at the time of the collision” and the

court merely held that verdicts were not impermissibly inconsistent. Newsom, 588 S.W. 2d at

884–88. Laxton held that a plaintiff who ingests toxins may recover damages for the mental

anguish between discovery of the ingestion and a negative diagnosis but was silent on the issue of

medical monitoring damages. 639 S.W. 2d 433–34; see Jones, 2000 WL 33727733, at *6

(analyzing Laxton and other Tennessee precedent and concluding they do not permit medical

monitoring costs without present injury); see also Camper v. Minor, 915 S.W. 2d 437, 445–46

(Tenn. 1996) (recognizing that Laxton questionably departed from the strict interpretation of the

physical manifestation rule, which the court then abandoned as an element for the recovery of

damages for severe mental anguish, but otherwise retained).

       Following Sutton, the Tennessee Supreme Court examined the requirements for recovering

future medical expenses in Rye v. Women’s Care Ctr. of Memphis, MPLLC, 477 S.W. 3d 235, 266

(Tenn. 2015). There, the court reaffirmed the need to prove a physical injury to state a claim for

future medical expenses. Id. (assuming, but not deciding, that RH-sensitization was a cognizable

physical injury before concluding that Rye failed to prove a need for future medical care to

reasonable medical certainty).

       In the absence of authority from the state’s highest court, district courts may not interpret

state law in a manner that expands liability under state law. Travelers, 594 F.3d at 253 (applying

“the well-established principle that where two competing yet sensible interpretations of state law

exist, we should opt for the interpretation that restricts liability, rather than expands it, until the




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[state’s highest court] decides differently.”) (cleaned up). Tennessee has long recognized that a

present physical injury is a prerequisite to a claim for relief. E.g., Potts, 796 S.W. 2d at 681, 684;

Rye, 477 S.W. 3d at 266. Because Tennessee’s highest court has not adopted a different rule,

Travelers requires this Court to opt for the prediction that Tennessee would adhere to the

traditional rule and require Plaintiffs to allege a present physical injury to state a claim for medical

monitoring relief.

                25.     Texas.

        The Texas Supreme Court has never indicated that it would deviate from the traditional

manifest physical injury requirement to permit no-injury medical monitoring claims. In the

absence of applicable Texas precedent, the Court’s Erie analysis may properly focus on precedent

in related areas. Travelers, 594 F.3d at 244. Applying this approach, the district court in Norwood

v. Raytheon Co., 414 F. Supp. 2d 659, 663–66 (W.D. Tex. 2006) looked to analogous precedent

from the Texas Supreme Court in Temple-Inland Forest Products Corp. v. Carter, 993 S.W. 2d

88 (Tex. 1999), where the court rejected claims seeking to recover damages for mental anguish

arising from the risk of future disease. Based on this decision, the district court in Norwood

predicted that Texas also would require plaintiffs to allege a manifest physical injury to state a

claim for medical monitoring costs. 414 F. Supp. 2d at 662–68. Plaintiffs identify no basis for

this Court to reach any different conclusion. Pls. Objs. Ex. B (ECF No. 2314-2) at A-18.

                26.     Virginia.

        Virginia’s highest court has not addressed whether plaintiffs may state a claim for medical

monitoring costs without alleging a manifest physical injury, but Ball v. Joy Tech., Inc., 958 F.2d

36 (4th Cir. 1991) and In re All Pending Chinese Drywall Cases, 80 Va. Cir. 69, 2010 WL 7378659

(Va. Cir. Ct. Mar. 29, 2010) squarely addressed the question presented here. Ball determined that

Virginia law requires present physical injury. 958 F.2d at 39. And In re Chinese Drywall


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reaffirmed that conclusion ten years later, holding that “plaintiffs not presently claiming personal

injuries” could not seek medical monitoring costs as damages because, while other states have

permitted such a claim, Virginia has not, and adopting such a novel claim required the court to

impermissibly depart from Virginia common law. 2010 WL 7378659, at *9–10. Plaintiffs identify

no contrary authority, much less authority sufficiently authoritative to predict that Virginia’s

Supreme Court would enact an expansion of state tort law. Nor have Plaintiffs provided any basis

to find that their conclusory assertions of subcellular change constitute physical injury under

Virginia law, particularly given the holding in Lo v. Burke that the cellular growth of a cyst is not

an actionable injury until it turns malignant. 455 S.E. 2d 9, 13 (Va. 1995).

               27.     Washington.

       Washington’s highest court has not addressed the question whether plaintiffs may assert a

claim for medical monitoring damages absent allegations of manifest physical injury, and has

given no indication that it would be open to abandoning the traditional manifest physical injury

requirement. Looking to federal courts applying Washington law and intermediate appellate court

decisions reinforces the conclusion that no-injury medical monitoring claims are not cognizable in

Washington. Washington tort law requires “a present, existing injury” to allege tort liability.

Duncan v. Nw. Airlines, Inc., 203 F.R.D. 601, 606 (W.D. Wash. 2001) (citing Koker v. Armstrong

Cork, Inc., 804 P.2d 659, 668–69 (Wash. Ct. App. 1991); Sorenson v. Raymark Indus., Inc., 756

P.2d 740, 741–42 (Wash. Ct. App. 1988)). “An enhanced risk of disease alone is not enough.”

Duncan, 203 F.R.D. at 606 (citing Koker, 804 P.2d at 669). On this basis, the federal court in

Duncan court held that the “elements of negligence are clear in Washington,” and apply to claims

seeking medical monitoring costs and require allegations of an existing injury. Id. at 609.




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IV.    CONCLUSION AND ROADMAP FOR DISMISSAL

       For all the foregoing reasons, and as set out with particularity above and in the detailed

survey of state law precedents, Respironics proposes the following “roadmap for a ruling on the

motion to dismiss which identifies, for each count and each state, the claims that will survive” and

those that should be dismissed. Remand Op. at 19.

       Because the District Court has already expressed that principles warranting the dismissal

of claims asserted in the PIAC should be “consistently applied” to overlapping claims in the

MMSAC, and has directed the parties to “meet and confer to accomplish the consistent dismissal

of overlapping claims after the resolution of any motions to dismiss the contemplated amended

Master PI Complaint,” Remand Op. at 12-13, the roadmap below omits certain grounds supporting

dismissal that apply equally to both the claims in the MMSAC and the claims in the PIAC and/or

Second Amended Master Personal Injury Complaint.



                          CLAIMS THAT SHOULD BE DISMISSED20

         Claim                Reason for             States           Plaintiffs Asserting Claims
                              Dismissal                              Under Laws of These States
                                                AZ, AR, CO,        Sean Purdy (AZ), Russell Autry
                                                CT, DE, GA,        (AZ), Patrick Nielson (CA, OR),
                                                HI, ID, IL, IN,    Sylvia McDaniel (CO), Jim
                                                IA, KS, ME,        Wolff (CO), Jill Leavenworth
                          Failure to allege
                                                MN, MT, NE,        (CT), Jose Toscano (CT), Jeffrey
 Negligence (Count I)     manifest physical
                                                NH, NJ, NM,        Boyle (DE), Brian McCarty (HI,
                          injury
                                                NY, NC, OH,        IL), Michael Wheeler (ID),
                                                OK, OR, PR,        Danny Baran (IL), Debra Wilson
                                                RI, SC, TN,        (IL), Michael Dusza (IN), Steve
                                                TX, VA, WA         Abarr (IA), Sharon Cathers (KS),

20
   This Roadmap is presented without prejudice to, and without waiving, Respironics’ argument
that the entire MMSAC should be dismissed for failure to allege all of the required elements of a
claim for medical monitoring relief. See Motion to Dismiss, ECF No. 1351, and supporting
Memorandum of Law (“MOL”), ECF No. 1352; Reply, ECF No. 1828. The Roadmap presents
the claims that are subject to dismissal under the framework of the Remand Opinion.


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                                                          Andrew Fisher (GA, MO), Doris
                                                          Margoles (ME), Prinna
                                                          Boudreau (MN), Danny David
                                                          (MT), Boniface Mills (NE),
                                                          Christopher Glaub (NE), Sabrina
                                                          Malone (NH, TX), Aaron Taylor
                                                          (NJ), Joe David Dennett (NM),
                                                          Beth Rodgers (NM, VA), Hugo
                                                          Barragan (NY), Sonia Diaz (NY,
                                                          SC), Bruce Ginsberg (NY),
                                                          Jeffrey Bartalo (NC), Deana
                                                          King (NC), Rachel Hock (OH),
                                                          Chad Wells (OK), Antonio Perez
                                                          Bonano (PR), Diane Lamontagne
                                                          (RI), Stephen Flannery (SC),
                                                          Susan Bakaitis (TN), Jeffrey
                                                          Kemp (TN), Sarah Claunch
                                                          (TX), Paul Panzera (TX),
                                                          Madaline Harbor (VA),
                                                          Elizabeth Heilman (VA),
                                                          Cameron Rose (VA), Jose Lopez
                                                          (WA), and Robert Peebles (WA)
                                                          Sean Purdy (AZ), Russell Autry
                                                          (AZ), Patrick Nielson (CA, OR),
                                                          Sylvia McDaniel (CO), Jim
                                                          Wolff (CO), Jill Leavenworth
                                                          (CT), Jose Toscano (CT), Jeffrey
                                                          Boyle (DE), Brian McCarty (HI,
                                                          IL), Michael Wheeler (ID),
                                        AZ, AR, CO,       Danny Baran (IL), Debra Wilson
                                        CT, DE, GA,       (IL), Michael Dusza (IN), Steve
                                        HI, ID, IL, IN,   Abarr (IA), Sharon Cathers (KS),
                                        IA, KS, ME,       Andrew Fisher (GA, MO), Doris
                    Failure to allege
Negligence Per Se                       MN, MT, NE,       Margoles (ME), Prinna
                    manifest physical
(Count II)                              NH, NJ, NM,       Boudreau (MN), Danny David
                    injury
                                        NY, NC, OH,       (MT), Boniface Mills (NE),
                                        OK, OR, PR,       Christopher Glaub (NE), Sabrina
                                        RI, SC, TN,       Malone (NH, TX), Aaron Taylor
                                        TX, VA, WA        (NJ), Joe David Dennett (NM),
                                                          Beth Rodgers (NM, VA), Hugo
                                                          Barragan (NY), Sonia Diaz (NY,
                                                          SC), Bruce Ginsberg (NY),
                                                          Jeffrey Bartalo (NC), Deana
                                                          King (NC), Rachel Hock (OH),
                                                          Chad Wells (OK), Antonio Perez
                                                          Bonano (PR), Diane Lamontagne



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                                                            (RI), Stephen Flannery (SC),
                                                            Susan Bakaitis (TN), Jeffrey
                                                            Kemp (TN), Sarah Claunch
                                                            (TX), Paul Panzera (TX),
                                                            Madaline Harbor (VA),
                                                            Elizabeth Heilman (VA),
                                                            Cameron Rose (VA), Jose Lopez
                                                            (WA), and Robert Peebles (WA)
                                          Carry over
Negligent             Carry over result
                                          result from       Carry over result from Motion to
Misrepresentation     from Motion to
                                          Motion to         Dismiss PIAC
(Count III)           Dismiss PIAC
                                          Dismiss PIAC
                                                            Jill Leavenworth (CT), Jose
                      Not a recognized
                                                            Toscano (CT), Sylvia McDaniel
Medical Monitoring    claim (states       CT, CO, DE,
                                                            (CO), Jim Wolff (CO), Jeffrey
(Count IV)            require manifest    MT, NH
                                                            Boyle (DE), Danny David (MT),
                      physical injury)
                                                            Sabrina Malone (NH, TX)
                                                            Sean Purdy (AZ), Russell Autry
                                                            (AZ), Patrick Nielson (CA, OR),
                                                            Sylvia McDaniel (CO), Jim
                                                            Wolff (CO), Jill Leavenworth
                                                            (CT), Jose Toscano (CT), Jeffrey
                                                            Boyle (DE), Brian McCarty (HI,
                                                            IL), Michael Wheeler (ID),
                                                            Danny Baran (IL), Debra Wilson
                                                            (IL), Michael Dusza (IN), Steve
                                                            Abarr (IA), Sharon Cathers (KS),
                                          AZ, AR, CO,
                                                            Andrew Fisher (GA, MO), Doris
                                          CT, DE, GA,
                                                            Margoles (ME), Prinna
                                          HI, ID, IL, IN,
                                                            Boudreau (MN), Danny David
                                          IA, KS, ME,
Products Liability-   Failure to allege                     (MT), Boniface Mills (NE),
                                          MN, MT, NE,
Design Defect         manifest physical                     Christopher Glaub (NE), Sabrina
                                          NH, NJ, NM,
(Count V)             injury                                Malone (NH, TX), Aaron Taylor
                                          NY, NC, OH,
                                                            (NJ), Joe David Dennett (NM),
                                          OK, OR, PR,
                                                            Beth Rodgers (NM, VA), Hugo
                                          RI, SC, TN,
                                                            Barragan (NY), Sonia Diaz (NY,
                                          TX, VA, WA
                                                            SC), Bruce Ginsberg (NY),
                                                            Jeffrey Bartalo (NC), Deana
                                                            King (NC), Rachel Hock (OH),
                                                            Chad Wells (OK), Antonio Perez
                                                            Bonano (PR), Diane Lamontagne
                                                            (RI), Stephen Flannery (SC),
                                                            Susan Bakaitis (TN), Jeffrey
                                                            Kemp (TN), Sarah Claunch
                                                            (TX), Paul Panzera (TX),
                                                            Madaline Harbor (VA),


                                          65
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                                                           Elizabeth Heilman (VA),
                                                           Cameron Rose (VA), Jose Lopez
                                                           (WA), and Robert Peebles (WA)
                                                           Sean Purdy (AZ), Russell Autry
                                                           (AZ), Patrick Nielson (CA, OR),
                                                           Sylvia McDaniel (CO), Jim
                                                           Wolff (CO), Jill Leavenworth
                                                           (CT), Jose Toscano (CT), Jeffrey
                                                           Boyle (DE), Brian McCarty (HI,
                                                           IL), Michael Wheeler (ID),
                                                           Danny Baran (IL), Debra Wilson
                                                           (IL), Michael Dusza (IN), Steve
                                                           Abarr (IA), Sharon Cathers (KS),
                                                           Andrew Fisher (GA, MO), Doris
                                         AZ, AR, CO,       Margoles (ME), Prinna
                                         CT, DE, GA,       Boudreau (MN), Danny David
                                         HI, ID, IL, IN,   (MT), Boniface Mills (NE),
                                         IA, KS, ME,       Christopher Glaub (NE), Sabrina
                     Failure to allege
Negligent Design                         MN, MT, NE,       Malone (NH, TX), Aaron Taylor
                     manifest physical
(Count VI)                               NH, NJ, NM,       (NJ), Joe David Dennett (NM),
                     injury
                                         NY, NC, OH,       Beth Rodgers (NM, VA), Hugo
                                         OK, OR, PR,       Barragan (NY), Sonia Diaz (NY,
                                         RI, SC, TN,       SC), Bruce Ginsberg (NY),
                                         TX, VA, WA        Jeffrey Bartalo (NC), Deana
                                                           King (NC), Rachel Hock (OH),
                                                           Chad Wells (OK), Antonio Perez
                                                           Bonano (PR), Diane Lamontagne
                                                           (RI), Stephen Flannery (SC),
                                                           Susan Bakaitis (TN), Jeffrey
                                                           Kemp (TN), Sarah Claunch
                                                           (TX), Paul Panzera (TX),
                                                           Madaline Harbor (VA),
                                                           Elizabeth Heilman (VA),
                                                           Cameron Rose (VA), Jose Lopez
                                                           (WA), and Robert Peebles (WA)
                                                           Sean Purdy (AZ), Russell Autry
                                         AZ, AR, CO,
                                                           (AZ), Patrick Nielson (CA, OR),
                                         CT, DE, GA,
                                                           Sylvia McDaniel (CO), Jim
                                         HI, ID, IL, IN,
                                                           Wolff (CO), Jill Leavenworth
                                         IA, KS, ME,
Strict Liability –   Failure to allege                     (CT), Jose Toscano (CT), Jeffrey
                                         MN, MT, NE,
Failure to Warn      manifest physical                     Boyle (DE), Brian McCarty (HI,
                                         NH, NJ, NM,
(Count VII)          injury                                IL), Michael Wheeler (ID),
                                         NY, NC, OH,
                                                           Danny Baran (IL), Debra Wilson
                                         OK, OR, PR,
                                                           (IL), Michael Dusza (IN), Steve
                                         RI, SC, TN,
                                                           Abarr (IA), Sharon Cathers (KS),
                                         TX, VA, WA
                                                           Andrew Fisher (GA, MO), Doris


                                         66
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                                                             Margoles (ME), Prinna
                                                             Boudreau (MN), Danny David
                                                             (MT), Boniface Mills (NE),
                                                             Christopher Glaub (NE), Sabrina
                                                             Malone (NH, TX), Aaron Taylor
                                                             (NJ), Joe David Dennett (NM),
                                                             Beth Rodgers (NM, VA), Hugo
                                                             Barragan (NY), Sonia Diaz (NY,
                                                             SC), Bruce Ginsberg (NY),
                                                             Jeffrey Bartalo (NC), Deana
                                                             King (NC), Rachel Hock (OH),
                                                             Chad Wells (OK), Antonio Perez
                                                             Bonano (PR), Diane Lamontagne
                                                             (RI), Stephen Flannery (SC),
                                                             Susan Bakaitis (TN), Jeffrey
                                                             Kemp (TN), Sarah Claunch
                                                             (TX), Paul Panzera (TX),
                                                             Madaline Harbor (VA),
                                                             Elizabeth Heilman (VA),
                                                             Cameron Rose (VA), Jose Lopez
                                                             (WA), and Robert Peebles (WA)
                                                             Sean Purdy (AZ), Russell Autry
                                                             (AZ), Patrick Nielson (CA, OR),
                                                             Sylvia McDaniel (CO), Jim
                                                             Wolff (CO), Jill Leavenworth
                                                             (CT), Jose Toscano (CT), Jeffrey
                                                             Boyle (DE), Brian McCarty(HI,
                                                             IL), Michael Wheeler (ID),
                                                             Danny Baran (IL), Debra Wilson
                                           AZ, AR, CO,
                                                             (IL), Michael Dusza (IN), Steve
                                           CT, DE, GA,
                                                             Abarr (IA), Sharon Cathers (KS),
                                           HI, ID, IL, IN,
                                                             Andrew Fisher (GA, MO), Doris
                                           IA, KS, ME,
                       Failure to allege                     Margoles (ME), Prinna
Negligent Failure to                       MN, MT, NE,
                       manifest physical                     Boudreau (MN), Danny David
Warn (Count VIII)                          NH, NJ, NM,
                       injury                                (MT), Boniface Mills (NE),
                                           NY, NC, OH,
                                                             Christopher Glaub (NE), Sabrina
                                           OK, OR, PR,
                                                             Malone (NH, TX), Aaron Taylor
                                           RI, SC, TN,
                                                             (NJ), Joe David Dennett (NM),
                                           TX, VA, WA
                                                             Beth Rodgers (NM, VA), Hugo
                                                             Barragan (NY), Sonia Diaz (NY,
                                                             SC), Bruce Ginsberg (NY),
                                                             Jeffrey Bartalo (NC), Deana
                                                             King (NC), Rachel Hock (OH),
                                                             Chad Wells (OK), Antonio Perez
                                                             Bonano (PR), Diane Lamontagne
                                                             (RI), Stephen Flannery (SC),



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                                                             Susan Bakaitis (TN), Jeffrey
                                                             Kemp (TN), Sarah Claunch
                                                             (TX), Paul Panzera (TX),
                                                             Madaline Harbor (VA),
                                                             Elizabeth Heilman (VA),
                                                             Cameron Rose (VA), Jose Lopez
                                                             (WA), and Robert Peebles (WA)
                                                             Sean Purdy (AZ), Russell Autry
                                                             (AZ), Patrick Nielson (CA, OR),
                                                             Sylvia McDaniel (CO), Jim
                                                             Wolff (CO), Jill Leavenworth
                                                             (CT), Jose Toscano (CT), Jeffrey
                                                             Boyle (DE), Brian McCarty (HI,
                                                             IL), Michael Wheeler (ID),
                                                             Danny Baran (IL), Debra Wilson
                                                             (IL), Michael Dusza (IN), Steve
                                                             Abarr (IA), Sharon Cathers (KS),
                                                             Andrew Fisher (GA, MO), Doris
                                           AZ, AR, CO,       Margoles (ME), Prinna
                                           CT, DE, GA,       Boudreau (MN), Danny David
                                           HI, ID, IL, IN,   (MT), Boniface Mills (NE),
                                           IA, KS, ME,       Christopher Glaub (NE), Sabrina
Negligent Recall /     Failure to allege
                                           MN, MT, NE,       Malone (NH, TX), Aaron Taylor
Negligent Failure to   manifest physical
                                           NH, NJ, NM,       (NJ), Joe David Dennett (NM),
Recall (Count IX)      injury
                                           NY, NC, OH,       Beth Rodgers (NM, VA), Hugo
                                           OK, OR, PR,       Barragan (NY), Sonia Diaz (NY,
                                           RI, SC, TN,       SC), Bruce Ginsberg (NY),
                                           TX, VA, WA        Jeffrey Bartalo (NC), Deana
                                                             King (NC), Rachel Hock (OH),
                                                             Chad Wells (OK), Antonio Perez
                                                             Bonano (PR), Diane Lamontagne
                                                             (RI), Stephen Flannery (SC),
                                                             Susan Bakaitis (TN), Jeffrey
                                                             Kemp (TN), Sarah Claunch
                                                             (TX), Paul Panzera (TX),
                                                             Madaline Harbor (VA),
                                                             Elizabeth Heilman (VA),
                                                             Cameron Rose (VA), Jose Lopez
                                                             (WA), and Robert Peebles (WA)
Breach of Implied
                       Failure to allege
Warranty of
                       manifest physical   All States        All Plaintiffs
Merchantability
                       injury
(Count X)
Breach of Implied      Failure to allege
Warranty of            manifest physical   All States        All Plaintiffs
Usability (Count XI)   injury


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                       Failure to allege
                       manifest physical
Breach of Express
                       injury;
Warranty (Count                              All States        All Plaintiffs
                       consequential
XII)
                       damage disclaimer
                       in express warranty
                       Failure to allege
                       fraud with
Fraud (Count XIII)                           All States        All Plaintiffs
                       particularity under
                       Rule 9(b)
                                                               Aaron Taylor (NJ), Sylvia
                                                               McDaniel (CO), Jim Wolff
                                                               (CO), Jill Leavenworth (CT),
                                             All alleged
State Product          Failure to allege                       Jose Toscano (CT), Michael
                                             states (CT, IN,
Liability Acts         manifest physical                       Dusza (IN), Sharon Cathers
                                             KS, NJ, OH,
(Count XIV)            injury                                  (KS), Rachel Hock (OH), Susan
                                             TN, WA)
                                                               Bakaitis (TN), Jeffrey Kemp
                                                               (TN), Jose Lopez (WA), and
                                                               Robert Peebles (WA)


                                     REMAINING CLAIMS

       Claim                States          Plaintiffs Asserting Claims Under Laws of These
                                                                  States
                                           Paul Bailey (CA), Christine DiJohn (CA), Patrick
                                           Nielson (CA, OR), Patricia Ragland (D.C.), Tara
                                           Fields (FL), Dennis Morris (FL), Randy Paris (FL),
                       CA, D.C., FL,
                                           Andrew Fisher (GA, MO), Wilbert Cotton (MD),
                       MD, MO, NV,
Negligence (Count I)                       Quinton Goodall (MD), Peter Bellotti (MA), John
                       PA, UT, VT,
                                           Young (MO), Elizabeth Lemus (NV), Arthur Hibbard
                       WV
                                           (PA), Joseph Hoffman (PA), Marilyn Sweeney (PA),
                                           Martin Humphries (UT), David Martin (VT), Dennis
                                           Caling (WV), Brent Hamlin (WV)
                                           Paul Bailey (CA), Christine DiJohn (CA), Patrick
                                           Nielson (CA, OR), Patricia Ragland (D.C.), Tara
                                           Fields (FL), Dennis Morris (FL), Randy Paris (FL),
                       CA, D.C., FL,
                                           Andrew Fisher (GA, MO), Wilbert Cotton (MD),
Negligence Per Se      MD, MO, NV,
                                           Quinton Goodall (MD), Peter Bellotti (MA), John
(Count II)             PA, UT, VT,
                                           Young (MO), Elizabeth Lemus (NV), Arthur Hibbard
                       WV
                                           (PA), Joseph Hoffman (PA), Marilyn Sweeney (PA),
                                           Martin Humphries (UT), David Martin (VT), Dennis
                                           Caling (WV), Brent Hamlin (WV)
Negligent
                       Carry over from
Misrepresentation                          Carry over from motion to dismiss PIAC
                       PIAC
(Count III)


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                                       Patricia Ragland (D.C.), Tara Fields (FL), Dennis
                                       Morris (FL), Randy Paris (FL), Peter Bellotti (MA),
Medical Monitoring     D.C., FL, MA,
                                       Arthur Hibbard (PA), Joseph Hoffman (PA), Marilyn
(Count IV)             PA, UT, WV
                                       Sweeney (PA), Martin Humphries (UT), Dennis
                                       Caling (WV), Brent Hamlin (WV)
                                       Paul Bailey (CA), Christine DiJohn (CA), Patrick
                                       Nielson (CA, OR), Patricia Ragland (D.C.), Tara
                                       Fields (FL), Dennis Morris (FL), Randy Paris (FL),
                       CA, D.C., FL,
Products Liability-                    Andrew Fisher (GA, MO), Wilbert Cotton (MD),
                       MD, MO, NV,
Design Defect                          Quinton Goodall (MD), Peter Bellotti (MA), John
                       PA, UT, VT,
(Count V)                              Young (MO), Elizabeth Lemus (NV), Arthur Hibbard
                       WV
                                       (PA), Joseph Hoffman (PA), Marilyn Sweeney (PA),
                                       Martin Humphries (UT), David Martin (VT), Dennis
                                       Caling (WV), Brent Hamlin (WV)
                                       Paul Bailey (CA), Christine DiJohn (CA), Patrick
                                       Nielson (CA, OR), Patricia Ragland (D.C.), Tara
                                       Fields (FL), Dennis Morris (FL), Randy Paris (FL),
                       CA, D.C., FL,
                                       Andrew Fisher (GA, MO), Wilbert Cotton (MD),
Negligent Design       MD, MO, NV,
                                       Quinton Goodall (MD), Peter Bellotti (MA), John
(Count VI)             PA, UT, VT,
                                       Young (MO), Elizabeth Lemus (NV), Arthur Hibbard
                       WV
                                       (PA), Joseph Hoffman (PA), Marilyn Sweeney (PA),
                                       Martin Humphries (UT), David Martin (VT), Dennis
                                       Caling (WV), Brent Hamlin (WV)
                                       Paul Bailey (CA), Christine DiJohn (CA), Patrick
                                       Nielson (CA, OR), Patricia Ragland (D.C.), Tara
                                       Fields (FL), Dennis Morris (FL), Randy Paris (FL),
                       CA, D.C., FL,
Strict Liability –                     Andrew Fisher (GA, MO), Wilbert Cotton (MD),
                       MD, MO, NV,
Failure to Warn                        Quinton Goodall (MD), Peter Bellotti (MA), John
                       PA, UT, VT,
(Count VII)                            Young (MO), Elizabeth Lemus (NV), Arthur Hibbard
                       WV
                                       (PA), Joseph Hoffman (PA), Marilyn Sweeney (PA),
                                       Martin Humphries (UT), David Martin (VT), Dennis
                                       Caling (WV), Brent Hamlin (WV)
                                       Paul Bailey (CA), Christine DiJohn (CA), Patrick
                                       Nielson (CA, OR), Patricia Ragland (D.C.), Tara
                                       Fields (FL), Dennis Morris (FL), Randy Paris (FL),
                       CA, D.C., FL,
                                       Andrew Fisher (GA, MO), Wilbert Cotton (MD),
Negligent Failure to   MD, MO, NV,
                                       Quinton Goodall (MD), Peter Bellotti (MA), John
Warn (Count VIII)      PA, UT, VT,
                                       Young (MO), Elizabeth Lemus (NV), Arthur Hibbard
                       WV
                                       (PA), Joseph Hoffman (PA), Marilyn Sweeney (PA),
                                       Martin Humphries (UT), David Martin (VT), Dennis
                                       Caling (WV), Brent Hamlin (WV)
                                       Paul Bailey (CA), Christine DiJohn (CA), Patrick
                       CA, D.C., FL,
Negligent Recall /                     Nielson (CA, OR), Patricia Ragland (D.C.), Tara
                       MD, MO, NV,
Negligent Failure to                   Fields (FL), Dennis Morris (FL), Randy Paris (FL),
                       PA, UT, VT,
Recall (Count IX)                      Andrew Fisher (GA, MO), Wilbert Cotton (MD),
                       WV
                                       Quinton Goodall (MD), Peter Bellotti (MA), John


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                                               Young (MO), Elizabeth Lemus (NV), Arthur Hibbard
                                               (PA), Joseph Hoffman (PA), Marilyn Sweeney (PA),
                                               Martin Humphries (UT), David Martin (VT), Dennis
                                               Caling (WV), Brent Hamlin (WV)
 Declaratory
                           All States          All Plaintiffs
 Judgment21




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   For the purposes of this roadmap for dismissal, Respironics has included Plaintiffs’ declaratory
judgment claim, based on the District Court’s observation in the February 14, 2024 Memorandum
Opinion that “at this stage of the case, the declaratory judgment claim appears plausible.” ECF
2521, at 18. Respironics respectfully disagrees with that conclusion; it does not waive, and
expressly preserves, its argument that Plaintiffs’ declaratory judgment claim self-evidently fails as
a matter law. Plaintiffs seek a declaration that “Philips is liable and responsible for the introduction
of the [alleged emissions] into Plaintiffs’ and Class members’ bodies.” MMSAC ¶ 739. That is
not a claim for relief under the Declaratory Judgment Act. “Declaratory judgments are not meant
simply to proclaim that one party is liable to another.” Andela v. Admin. Off. of U.S. Cts., 569 F.
App’x 80, 83 (3d Cir. 2014) (affirming dismissal of declaratory judgment claim). No reasoning
has yet been articulated, at any stage of either the motion to dismiss briefing or briefing on the
parties’ objections to the original R&R, explaining why Plaintiffs’ declaratory judgment claim
should not be dismissed.



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Dated: April 10, 2024                    Respectfully Submitted,

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                                         America LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 10, 2024, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF system.


                                                   /s/ John P. Lavelle, Jr.
                                                   John P. Lavelle, Jr.
